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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   RALEIGH DIVISION

                                                    )
   In re:                                           )
                                                    )
   FELIX PAYMENT SYSTEMS LTD.
                                                    )             Case No. 25-00053-5
                                                    )
                                                    )
                          Debtor.                   )
                                                                       Chapter 15
                                                    )

                         LIST PURSUANT TO RULE 1007(a)(4) OF THE
                       FEDERAL RULES OF BANKRUPTCY PROCEDURE

            Felix Payment Systems Ltd. as the foreign debtor and foreign representative (the “Foreign

  Debtor” or “Foreign Representative”), which is the subject of a reorganization proceeding (the

  “CCAA Proceeding”) commenced under Canada’s Companies’ Creditors Arrangement Act (the

  “CCAA”), pending before the Supreme Court of British Columbia (the “Canadian Court”), by its

  undersigned counsel, hereby make the following statements required by section 1515(c) of title 11

  of the United States Code (the “Bankruptcy Code”) and Rule 1007(a)(4) of the Federal Rules of

  Bankruptcy Procedure (the “Bankruptcy Rules”):

  I.        Statement required by Section 1515(c) of the Bankruptcy Code

            Pursuant to the Amended and Restated Initial Order entered in the CCAA Proceeding, the

  Foreign Debtor is authorized to act as the Foreign Representative. Other than the CCAA

  Proceeding, the Foreign Debtor believes that there are no foreign proceedings pending with respect

  to the Foreign Debtor.

            The Foreign Debtor’s registered office is:

                   Felix Payment Systems Ltd.
                   20th Floor, 250 Howe Street
                   Vancouver, BC, V6C 3R8, Canada




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  II.     All parties to litigation pending in the United States in which a Foreign Debtor is a
          party at the time of filing of the chapter 15 petition

          The Foreign Debtor is not presently a party to any litigation pending in the United States.

  Mr. Robert Alpert and his related entities (collectively, the “Robert Alpert Group”) filed a

  complaint (“Complaint”) against the Foreign Debtor on November 27, 2023 in the Court of

  Common Pleas of Cuyahoga County, Ohio; Case No.: CV 23 969133, which ultimately led to the

  Robert Alpert Group obtaining default judgment (the “Default Judgment”) against the Foreign

  Debtor. True and correct copies of the Complaint and Default Judgment are attached hereto as

  Exhibits 1 and 2, respectively.

  III.    Entities against whom provisional relief is sought under section 1519 of the
          Bankruptcy Code

          The Foreign Debtor will seek provisional relief against the Robert Alpert Group, which are

  all listed on the Complaint, and any of its successors or assigns.

  IV.     Corporate ownership statement under rules 1007(a) and 7007 of the Federal Rules of
          Bankruptcy Procedure

          Pursuant to Rules 1007(a) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

  Foreign Debtor does not have a parent company and no publicly held corporation owns 10% or

  more of the Foreign Debtor’s shares. A true and correct copy of the Central Securities Register as

  of August 31, 2023 is attached hereto as Exhibit 3.




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                                                                                                    EXHIBIT 1




                                             NAILAH K BYRD
                                     CUYAHOGA COUNTY CLERK OF COURTS
                                                     1200 Ontario Street
                                                    Cleveland, Ohio 44113




                                               Court of Common Pleas


                                     New Case Electronically Filed: COMPLAINT
                                              November 27,2023 16:45


                                           By: ROBERT D. ANDERLE 0064582

                                                Confirmation Nbr. 3026833



     ROBERT ALPERT, ROMAN ALPERT AS TRUSTEE OF                              CV 23 989133
     R, ETAL

             vs.
                                                                  Judge: EMILY HAGAN
     FELIX PAYMENT SYSTEMS, LTD.




                                                     Pages Filed: 118




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                                     IN THE COURT OF COMMON PLEAS
                                         CUYAHOGA COUNTY, OHIO

         ROBERT ALPERT                                         )
         7312 Louetta Road #519                                )   CASE NO.
         Bldg 518                                              )
         Spring, TX 77379                                      )   JUDGE
                                                               )
         ROMAN ALPERT AS TRUSTEE OF                            )
         ROMAN ALPERT TRUST                                    )
        7312 Louetta Road #519                                 )
        Bldg 518                                               )
        Spring, TX 77379                                       )
                                                               )   COMPLAINT FOR BREACH OF
        DONSANDERS                                             )   CONTRACT
        5900 JPMorgan Chase Tower                            )
        600 Travis, Suite 5800                               )
        Houston, TX 77002                                    )
                                                            ')
        ANDY CRACCHIOLO                                     )      JURY DEMAND ENDORSED
        3219 East Camelback Road, #785                      )      HEREON
        Phoenix, AZ 85018                                   )
                                                            )
        ELK CAMP VENTURES, LLC                              )
        8 The Green, Suite R                                )
        Dover, DE 19901                                     )
                                                            )
        HYPERION INVESTMENTS, LLC                           )
        1720 Magoffin Ave.                                  )
        El Paso, TX 79901                                   )
                                                            )
                                                            )
        JAMES TAYLOR AS TRUSTEE OF                         )
        JAMES TAYLOR IRREVOCABLE                           )
        TRUST                                              )
        181 Elmwood Avenue Ext.                            )
        Gloversville, NY 12078                             )
                                                           )
       R. DAVID HOOVER AS TRUSTEE OF           )
       THE R. DAVID HOOVER REVOCABLE )
       TRUST dated January 30,1997, as amended )
       and restated September 14, 2012                     )
       7209 Rustic Trail                                   )
       Boulder, CO 80301                                   )
                                                           )
                Plaintiffs,                                )

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                                                             )
         vs.                                                 )
                                                             )
         FELIX PAYMENT SYSTEMS, LTD                          )
         250 Howe Street, Level 20                           )
         Suite 100-218                                       )
         Vancouver, BC V6c 3RB                               )
                                                             )
                    Defendant.                               )


                Now come Plaintiffs Robert Alpert, Roman Alpert Trust, Don Sanders, Andy Cracchiolo,

        Elk Camp Ventures, LLC, Hyperion Investments, LLC, James Taylor Irrevocable Trust, and the

        R. David Hoover Revocable Trust dated January 30, 1997, as amended and restated September 14,

        2012 (collectively, “Plaintiffs”), by and through their undersigned counsel, and for their Complaint

        against Defendant Felix Payment Systems, LTD, (“Defendant”) allege and aver as follows:


                                               NATURE OF ACTION


                1.       Plaintiffs are investors who individually loaned funds to Defendant subject to a

       Convertible Note Purchase Agreement (attached as Exhibits A-l through A-3) and Convertible

       Promissory Notes (attached as Exhibits B-l to B-13). Payment of the principal and accrued interest

       on each of the Plaintiffs’ respective Convertible Promissory Notes became due on August 21,

       2023. However, Defendant has failed and/or refused to make said payments to Plaintiffs.

       Accordingly, Defendant has breached the Convertible Note Purchase Agreement and the

       Convertible Promissory Notes, and Plaintiffs are entitled to judgment against Defendant for the

       principal and accrued interest loaned to Defendant subject to these agreements.

                                                   THE PARTIES

               2.       Plaintiff Robert Alpert is a natural person and is an Investor in Defendant.

               3.       Plaintiff Roman Alpert Trust is a trust formed under the laws of the State of Texas,

      Roman Alpert Trustee. The Trust is an Investor in Defendant.
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                4.       Plaintiff Don Sanders is a natural person who is an Investor in Defendant.

                5.      Plaintiff Andy Cracchiolo is a natural person who is an Investor in Defendant.

                6.      Plaintiff Elk Camp Ventures, LLC is a Delaware limited liability company. Elk

        Camp is an Investor in Defendant.

                7.      Plaintiff Hyperion Investments, LLC is a Texas limited liability company.

        Hyperion is an Investor in Defendant.

                8.      Plaintiff the James Taylor Irrevocable Trust is a trust formed under the laws of the

        State of New York, James Taylor, trustee. The Trust is an Investor in Defendant.

                9.      Plaintiff R. David Hoover Revocable Trust is a trust formed under the laws of the

        State of Colorado, R. David Hoover trustee. The Trust is an Investor in Defendant.

                10.     Defendant Felix Payment Systems, Ltd. is, upon information and belief, is a

       corporation formed under the laws of British Columbia, Canada, and is registered in and doing

       business in British Columbia, Canada.

                                          JURISDICTION AND VENUE

               11.     This court has subject matter jurisdiction under R.C. 2305.01.

               12.     Venue is proper and this Court has personal jurisdiction over the Defendant

       pursuant to Section 9.9 of the Convertible Note Purchase Agreement (the “Purchase Agreement”).

       Section 9.9 provides:

                       Law Governing; Jurisdiction. The laws of Ohio (without giving
                       effect to its conflicts of law principles) govern this Agreement and
                       all matters arising out of or relating to this Agreement and the
                       transactions contemplated hereby. The parties hereto hereby
                       irrevocably submit to the exclusive jurisdiction of the federal or state
                       courts of the State of Ohio over any proceeding arising out of or
                       relating to this Agreement or any of the transactions contemplated
                       hereby and each party hereby irrevocably agrees that all claims in

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                        respect of such proceeding may be heard and determined in such
                        courts. The parties hereto hereby irrevocably waive any objection
                        which they may now or hereafter have to the laying of venue of any
                       proceeding brought in such courts or any claim that such proceeding
                       brought in such courts has been brought in an inconvenient forum.
                       Each of the parties hereto agrees that a judgment in such proceeding
                       may be enforced in other jurisdictions by suit on the judgment or in
                       any other manner provided by applicable law. Each of the parties
                       hereto hereby irrevocably consents to process being served by any
                       other party to this Agreement in any proceeding by delivery of a copy
                       thereof in accordance with the provisions of Section 9.1.

                                           FACTUAL ALLEGATIONS

                13.    On or about February 21, 2021, Defendant and the Plaintiffs entered into the

       Purchase Agreement pursuant to which Plaintiffs (referred to as “Investors” in the Agreement)

       loaned Defendant (referred to as the “Company” in the Agreement) the following amounts:

                           Investor Name                                  Loan Amount (s)

                Robert Alpert                               -
                                                        $25,000 (with interest calculated from
                                                         September 21, 2020
                                                     - $50,000 (with interest calculated form
                                                        December 21, 2020
                                                     - $50,000 (with interest calculated from
                                                        January 5, 2021)
                                                     - $200,000 (with interest calculated from
                                                        February 19, 2021)
                                                     - $150,000 (with interest calculated from
                                               1        February 19,2021)
                                                     - $112,250 (with interest calculated from
                                                        June 8, 2022)
               Roman Alpert Trust                $150,000 (with interest calculated from February
                                                 12,2021
               Don Sanders                       $150,000 (with interest calculated from February
                                                 17, 2021)
               Andy Cracchiolo                   $150,000  (with interest calculated from February
                                                 21,2021)
               Elk Camp Ventures, LLC            $25,000 (with interest calculated from February
                                                 21, 2021)
               Hyperion Investments, LLC         $50,000 (with interest calculated from February
                                                 21,2021)
               The R. David Hoover Revocable $100,000 (with interest calculated from February
               Trust dated January 30, 1997 as 25,2021)                                            ,

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                 amended and restated September
                 14,2012
                 The James W. Taylor Revocable $50,000 (with interest calculated from February
                 Living Trust dated September 25, 25, 2021)
                 2001



                14.       Pursuant to the Purchase Agreement, D efendant issued to each Plaintiff one or more

        Convertible Promissory Notes (the “Notes”) promising to pay the Plaintiffs the principal sums

       loaned plus interest at a rate of 6% per annum accruing from the date specified in the Note.

                15.       The Purchase Agreement and the Notes are governed by the laws of the State of

       Ohio.

                16.       The Purchase Agreement and the Notes permit the Plaintiffs to elect between

       repayment of the Notes or conversion of the Notes into shares of the Defendant company upon the

       occurrence of an equity financing, prior to the maturity date, or upon the sale of the company.

       However, the Plaintiffs did not make such an election and instead seek repayment of the principal

       amount loaned plus accrued interest pursuant to the Purchase Agreement and the Notes.

               17.       Section 1.3 of the Purchase Agreement governs repayments. It provides, in

       pertinent part:

                         (a) Mandatory Repayments. The full and unpaid principal amount
                             of the Notes, together with all accrued and unpaid interest
                             thereon, shall be paid in full by the Company to the Investors on
                             the earlier of (i) the Maturity Date, (ii) a Sale of the Company,
                             and (iii) an Event of Default in which the Notes have been
                             accelerated by the Investors or are automatically accelerated in
                             accordance with the provisions of this Agreement.

               18.       Section 2 of the Notes also governs repayments. It provides, in pertinent part:

                         (a) Mandatory Repayments. Unless this Note is previously
                             converted in accordance with Section 4, the entire outstanding
                             principal amount of this Note, together with all accrued and
                             unpaid interest thereon, shall be due and payable on the earlier
                             of (i) the Maturity Date, (ii) a Sale of the Company, and (iii)

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                         (b) an Event of Default in which the Notes have been accelerated
                             by the Investor or are automatically accelerated in accordance
                             with the provisions of the Purchase Agreement.

                19.     The Purchase Agreement required Defendant to make certain financial disclosures

        so long as any Note is outstanding, including balance sheets and statements of income and cash

       flow prepared in accordance with GAAP. It also required Defendant to be responsible for the fees

       and expenses of attorneys, accountants, consultants and any other representative or agent retained

       by the Plaintiffs regarding the Purchase Agreement.

               20.      The Purchase Agreement originally defines the term “Maturity Date” as the date of

       the eighteen (18) month anniversary of the Effective Date. The Effective Date of the Agreement

       is February 21,2021.

               21.      However, on or about February 5, 2023, pursuant to a First Amendment to the

       Convertible Note Purchase Agreement (the “First Amendment”), the Purchase Agreement was

       amended to state that the Maturity Date was changed to May 21, 2023. See Exhibit A-2.             In the

       First Amendment, the parties also agreed that effective February 1, 2023, all accrued and unpaid

       interest on each Note shall be added to the principal balance of each Note. The new principal

      balance for each Investor and Note is listed below:

                      Investor Name              Original Principal Balance           New Principal Balance

                Robert Alpert                              $25,000                          $28,795.77
                                                           $50,000                          $56,738.54
                                                           $50,000                          $56,599.12
                                                          $200,000                         $224,732.18
                                                          $150,000                         $168,549.18
                                                          $112,250                         $116,698.39
                Roman Alpert Trust                        $150,000                         $168,742.41

               Don Sanders                                $150,000                         $168,604.36

               Andy Cracchiolo                            $150,000                         $168,493.91


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                 Elk Camp Ventures,                          $25,000                          $28,082.32
                 LLC
                 Hyperion Investments,                      $50,000                          $56,164.64
                 LLC
                 The R. David Hoover                        $100,000                         $112,255.64
                 Revocable Trust dated
                 January 30, 1997 as
                 amended and restated
                 September 14, 2012
                 The James W. Taylor                        $50,000                          $56,127.82
                 Revocable Living Trust
                 dated September 25,
                 2001


                22.     Finally, in the First Amendment the parties agreed that upon the occurrence of an

       Event of Default, the interest rate of each Note shall automatically, and without notice, increase to

       eighteen percent (18%).

               23.      In or about May 2023, pursuant to a Second Amendment the Convertible Note

       Purchase Agreement (the “Second Amendment”) the Purchase Agreement was again amended,

       such that the Maturity Date was extended to August 21, 2023. See Exhibit A-3.

               24.     Defendant has failed and/or refused to pay Plaintiffs both the principal amount due

       under their respective Notes and the accrued interest due thereon by the amended Maturity Date

       of August 21, 2023. Each Plaintiff is currently due and owed the total amount of the principal

       loaned pursuant to each Note and the interest accruing thereon. Defendant’s failure also constitutes

       an Event of Default as set forth in the Purchase Agreement trigger the automatic increase in the

      interest rate to eighteen percent (18%).

               25.     Defendants’ failure to repay the Plaintiffs is a breach of the Purchase Agreement

      and the Notes, and each Plaintiff is therefore entitled to judgment against Defendant in the amount

      of the principal loaned to Defendant plus interest accruing as of the date set forth in each Plaintiffs

      respective Note(s).

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                26.     On August 22, 2023, Plaintiffs sent correspondence to Defendant advising of the

       default on the Notes for the failure to pay as well as Defendant’s failure to provide requested

       financial information as required by the Purchase Agreement. Since that date, Defendant has failed

       to pay any amounts due on the Notes or provide requested financial information as required by the

       Purchase Agreement and Notes.

                27.    Instead of fulfilling any of its obligations under the Notes and Purchase Agreement,

       Defendant has attempted to mislead Plaintiffs including misrepresenting it had made a $2,000,000

       wire transfer to Plaintiffs.

                                      COUNT I-BREACH OF CONTRACT

               28.     Plaintiffs reincorporate by reference the allegations set forth above as if fully

       rewritten herein.

               29.     Defendant and Plaintiffs entered into and agreed to be bound by the Purchase

       Agreement (including its amendments) and the Notes for good and valuable consideration.

               30.     The terms of the Purchase Agreement and the Notes required, inter alia, that

      Defendant repay each Plaintiff the principal amounts loaned plus interest accruing thereon by the

      Maturity Date of August 21, 2023.

               31.    Defendant has breached the Purchase Agreement and Notes in that it has failed

      and/or refused to repay the principal amount loaned by each Plaintiff plus interest accruing from

      the date set forth in each Plaintiffs respective Note(s).

               32.    Defendant also has breached the Purchase Agreement and Notes in that it has failed

      to provide accurate and adequate financial information.

               33.    The Plaintiffs fully performed their obligations under the Purchase Agreement and

      Notes.



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                     34.       As a direct and proximate result of Defendant’s breach of contract, Plaintiffs have

        suffered damages in an amount greater than $25,000, plus costs, interest, and reasonable attorneys’

        fees.

                                                       PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs demand judgment against Defendant as follows:

                 a. In favor of Robert Alpert in the amount $28,795.77, plus interest;

                 b. In favor of Robert Alpert in the amount $56,738.54, plus interest;

                 c. In favor of Robert Alpert in the amount $56,599.12, plus interest;

                 d. In favor of Robert Alpert in the amount $224,732.18, plus interest;

                e. In favor of Robert Alpert in the amount $168,549.18, plus interest;

                f.         In favor of Robert Alpert in the amount $116,698.39, plus interest;

                g. In favor of the Roman Alpert Trust in the amount $168,742.41, plus interest;

                h. In favor of Don Sanders in the amount $168,604.36, plus interest;

                i.     In favor of Andy Cracchiolo in the amount $168,493.91, plus interest;

                j.     In favor of Elk Camp Ventures, LLC in the amount $28,082.32, plus interest;

                k. In favor Hyperion Investments, LLC in the amount $56,164.64, plus interest;

                1.     In favor of The R. David Hoover Revocable Trust dated January 30, 1997 as amended

                       and restated September 14, 2012 in the amount $112,255.64 plus interest;

                m. In favor of The James W. Taylor Revocable Living Trust dated September 25,2001 in

                       the amount $56,127.82 plus interest;

                n. costs, reasonable attorneys’ fees, and such other relief as this Court deems just and

                       equitable.




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                                                                 Respectfully submitted,


                                                                 s/Robert D. Anderle
                                                                 Robert D. Anderle (0064582)
                                                                 Clare C. Moran (0081134)
                                                                 Seeley, Savidge, Ebert & Gourash, Co. LPA
                                                                 26600 Detroit Road, Suite 300
                                                                 Westlake, Ohio 44145
                                                                 (216) 566.8200 | (216) 566.0213
                                                                 rdanderle@sseg-law.com
                                                                 cmoran@sseg-law.com

                                                                 Attorneys for Plaintiffs



                                           DEMAND FOR JURY TRIAL

               TRIAL BY JURY IS HEREBY DEMANDED ON ALL ISSUES SO TRIABLE.

                                                                 s/ Robert D. Anderle
                                                                 Robert D. Anderle (0064582)




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                                           EXHIBIT A-l




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                                     CONVERTIBLE NOTE PURCHASE AGREEMENT



                   This Convertible Note Purchase Agreement (this “Agreement ’) is entered into as of the 21st day of
           February, 2021 (the “Effective Date") between Felix Payment Systems Ltd., a British Columbia corporation
           (the “Company'), and the persons and entities listed on the schedule of investors attached hereto as
           Schedule A (each an “Investor" and, collectively, the “Investors'), as such Schedule A may be amended
           in accordance with this Agreement.

                                                           RECITALS

                    WHEREAS, the Investors and the Company desire to enter into this Agreement with respect to
           certain funding transactions for the benefit of the Company on the terms and conditions set forth herein;
           and

                   WHEREAS, certain capitalized terms used herein shall have the meanings ascribed to them in
           Section 8.1 of this Agreement;

                                                         AGREEMENT

                    NOW, THEREFORE, in consideration of the mutual promises, representations, warranties,
           covenants and conditions set forth in this Agreement and for other good and valuable consideration, the
           receipt and sufficiency of which are hereby acknowledged, the parties to this Agreement mutually agree as
           follows:

                                                      SECTION 1.
                                                  TERMS OF THE NOTES

                   Section 1.1     General Description of the Notes.

                           (a)      On the Effective Date, the Company will issue to each Investor a convertible
          promissory note representing the loan to be made by such Investor at or prior to the Initial Closing (as
          hereinafter defined) in the principal amount set forth opposite such Investor’s name on Schedule A hereto
          (each a “Note and, collectively, the “Notes’), and, in accordance with Section 2.1(b), the Company will
          issue a convertible promissory notes representing the principal amounts of the loans to be made by the
          investors participating in any Additional Closing (as hereinafter defined) (each, an “AdditionalInvestor”),
          in each case, in the form of Exhibit 1.1 attached hereto and pursuant to the terms and conditions of this
          Agreement and the Notes issued to Investors. Any Notes issued at an Additional Closing shall be deemed
          to be “Notes" under this Agreement and all Additional Investors shall be deemed to be “Investors" under
          this Agreement

                           (b)     Unless earlier converted into Equity Securities of the Company pursuant to the
          terms hereof, the aggregate outstanding principal amount of the Notes plus accrued and unpaid interest
          thereon shall be due and payable in full on the Maturity Date. The Notes shall bear interest (based on a 365-
          day year) on the unpaid principal amount thereof until due and payable at the rate of six percent (6%) per
          annum. In the event of any conflict between the terms of the Notes and the terms of this Agreement, the
          terms of this Agreement shall control.

                  Section 1.2     Payments and Endorsements. Payments of principal and interest on the Notes and
          other amounts due to each Investor with respect to the Obligations shall be made by certified check or wire



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           transfer of immediately available federal funds to the account designated in writing by such Investor,
           without any presentment or notation of payment.

                   Section 1,3      Repayments.

                             (a)     Mandatory Repayments. The full unpaid principal amount of the Notes, together
          with all accrued and unpaid interest thereon, shall be paid in full by the Company to the Investors on the
          earlier of (i) the Maturity Date, (ii) a Sale of the Company, and (iii) an Event of Default in which the Notes
          have been accelerated by the Investors or are automatically accelerated in accordance with the provisions
          of this Agreement.

                           (b)     No Optional Prepayments. The Company may not prepay the Notes without the
          prior written consent of the Requisite Investors.

                           (c)     Application of Payment. All partial payments (whether mandatory or otherwise)
          shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection or enforcement
          to which the Investor is entitled, (ii) second, to accrued and unpaid interest on the Notes, and (iii) third, to
          the principal amount of the Notes.

                   Section 1.4     Replacement of the Notes. Upon receipt of evidence reasonably satisfactory to the
          Company of the loss, theft, destruction or mutilation of a Note and, if requested in the case of any such loss,
          theft or destruction, upon delivery of an indemnity bond or other agreement or security reasonably
          satisfactory to the Company, or, in the case of any such mutilation, upon surrender and cancellation of a
         Note, the Company will issue a new Note, of like tenor and amount and dated the date to which interest has
         been paid, in lieu ofthe lost, stolen, destroyed or mutilated Note; provided, however, if a Note is lost, stolen
         or destroyed, the affidavit of the Investor (or an authorized partner or officer of Investor) setting forth the
         circumstances with respect to such loss, theft or destruction shall be accepted as satisfactory evidence
         thereof.

                  Section 1.5      Security. The Notes are unsecured obligations of the Company.

                  Section 1.6      Conversion Rights and Obligations.

                            (a)     Optional Conversion upon Equity Financing. If, prior to the Maturity Date, the
          Company intends to consummate an Equity Financing, it shall provide the Investors with prior written
          notice of at least twenty (20) days, such notice to set out the material terms of the Equity Financing. Upon
          the consummation of such Equity Financing, the Investors may elect, upon the approval of the Requisite
          Investors, to convert the Notes (in whole or in part) into the number of shares of the Equity Securities issued
          by the Company pursuant to the Equity Financing equal to the greater of (i) the number of shares of the
          Equity Securities resulting from dividing (A) the outstanding principal and accrued but unpaid interest
          under the Notes to be converted by (B) eighty-five percent (85%) ofthe price per Equity Security (excluding
          conversion of the Notes) in the Equity Financing; or (ii) the number of shares of the Equity Securities
         resulting from dividing (A) the outstanding principal and accrued but unpaid interest under the Notes to be
         converted by (B) a price per Equity Security calculated prior to the Equity Financing using the Valuation
         Cap. Promptly after the closing of the Equity Financing, the Company shall defiver to the Investors written
         notices accompanied by any certificates representing the Equity Securities into which the Notes have been
         converted, registered in the name of the Investors, and against such delivery, the Investors shall surrender
         the Notes to the Company, duly endorsed to the Company or marked as cancelled. Each Investor shall also
         execute and deliver any securities purchase agreements, shareholders agreement or other equity agreements
         as are agreed to by the Investors, the Company and the other investors in the Equity Financing and the
         Investors shall receive the same rights (including, without limitation, information and access rights,


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           preemptive rights, put or call rights, co-sale rights, registration rights and other investor rights and
           protective provisions) as any other investor in the Equity Financing.

                            (b)     Optional Conversion prior to Maturity Date. If not sooner repaid or converted in
           an Equity Financing prior to the Maturity Date, the Investors may elect, upon the approval of the Requisite
           Investors, to convert the entire unpaid principal and interest outstanding under the Notes into the number
           of Common Shares of the Company resulting from dividing (i) the outstanding principal and accrued but
          unpaid interest under the Notes; by (ii) a price per Equity Security calculated using the Valuation Cap.
          Promptly (and in any event within five (5) days of the Company’s receipt of the written election by the
          Investors to convert pursuant to this Section 1.6(b), the Company shall deliver to Investors written notices
          accompanied by any certificate representing the Equity Securities into which the Note has been converted,
          registered in the name of the Investors, and against such delivery. Investors shall surrender the Note to the
          Company, duly endorsed to the Company or marked as cancelled. In the event of a conversion pursuant to
          this Section 1.6(b), the Company covenants and agrees to negotiate and enter into a shareholders agreement
          to include commercial terms typical for an institutional investment transaction.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Agreement and the Notes to the contrary, in the event of a Sale of
          the Company prior to the conversion or repayment in full of the Notes, (i) the Company shall notify
          Investors in writing not less than fifteen (15) days prior to the date on which the closing of the Sale of the
          Company is expected to occur, and (ii) Investors may elect, upon the approval of the Requisite Investors,
          with such election delivered to the Company at least five (5) days prior to the Sale of the Company, to
          convert the entire unpaid principal and interest outstanding under the Notes into the number of Common
          Shares of the Company resulting from dividing (A) the outstanding principal and accrued but unpaid interest
          under the Notes; by (B) a price per Equity Security calculated using the Valuation Cap. Promptly (and in
          any event within two (2) Business Days of the Company’s receipt of such written election by the Investors
          to convert pursuant to this Section 1.6(c)). the Company shall deliver to Investors written notices
          accompanied by any certificate representing the Equity Securities into which the Notes have been
          converted, registered in the name of the Investors, and against such delivery, Investors shall surrender the
          Notes to the Company, duly endorsed to the Company or marked as cancelled.

                          (d)      No Impairment. The Company will not, through any reorganization, transfer of
         assets, issuance or sale of Equity Securities or otherwise, avoid or seek to avoid the observance or
         performance of any of the terms of this Section L6 or the other provisions of this Agreement and will at all
         times in good faith assist in the carrying out of the provisions hereof and in the taking of all actions as may
         be necessary hi order to protect the conversion and other rights of the Investors hereunder against
         impairment

                                                          SECTION 2.
                                                           CLOSING

                  Section 2.1     Closings.

                           (a)     Subject to the satisfaction of the conditions set forth in SECTION 3. the sale and
         purchase of the initial Notes shall occur on the Effective Date (the “Initial Closing”)', provided, that certain
         Notes issued at the Initial Closing relate to loans provided to the Company prior to the Effective Date. At
         the Initial Closing, the Company will deliver to Investors the initial Notes against delivery by Investors to
         the Company of the amount of the purchase price therefor by wire transfer of immediately available funds
         to the account specified in writing by the Company.

                         (b)      Subject to the satisfaction of the applicable conditions set forth in SECTION 3, the
         sale and purchase of the additional Notes shall occur on a date designated by the Requisite Investors at any
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          time and from time to time prior to the date which is six (6) months after the Effective Date (each an
          “Additional Closing” and, together with the Initial Closing, each a “Closing”). At each Additional Closing,
          the Company will deliver to Additional Investors the additional Notes against delivery by the Additional
          Investors to the Company of the amount of the purchase price therefor by wire transfer of immediately
          available funds to the account specified in writing by the Company. Unless agreed to by the Company, the
          aggregate principal amount of the Notes issued pursuant to this Agreement shall not exceed $1,000,000.
          Each Additional Investor shall become a party to this Agreement by executing and delivering to the
          Company an additional counterpart signature page to this Agreement and Schedule A hereto shall be
          updated to reflect the Notes purchased and sold in such Closing without any further action required on the
          part of the Company or any Investor

                  Section 2.2     Use of Proceeds. The proceeds from the sale of the Notes shall be used to provide
          interim working capital to (a) support the Company’s development efforts and pilot program to seek card
          network approval and (b) provide the Company the timeline necessary to complete the Equity Financing.

                                             SECTION 3.
                           CONDITIONS PRECEDENT TO OBLIGATIONS OF INVESTOR

                  Investor’s obligation to purchase a Note shall be subject to the satisfaction of the following
          conditions precedent:

                Section 3.1     Representations and Warranties. The representations and warranties of the
          Company in this Agreement are true and correct in all material respects at the time of the applicable Closing.

                   Section 3.2      Performance: No Default. The Company shall have performed and complied with
          all agreements and conditions contained in this Agreement required to be performed or complied with by it
          prior to or at the applicable Closing and after giving effect to the issue and sale of the Notes, no Event of
          Default shall have occurred and be continuing as of the applicable Closing.

                  Section 3.3      Intentionally Left Blank.

                  Section 3.4       No Injunctions. No injunction, preliminary injunction or temporary restraining
         order shall be threatened or shall exist as of the applicable Closing that prohibits or may prohibit the
         transactions contemplated by this Agreement, and no litigation or similar proceeding (including, without
         limitation, any litigation or other proceeding seeking injunctive or similar relief) shall be threatened or shall
         exist with respect to the transactions contemplated by this Agreement.

                 Section 3.5       Documents. Investors shall have received in form and substance satisfactory to
         Investors each of the following:

                          (a)     Notes. Notes duly executed by the Company in favor of Investors.

                          (b)    Agreement. A counterpart of this Agreement duly executed by the Company.

                          (c)    Approvals and Consents. Copies of all required consents, authorizations, filings,
         licenses and approvals, if any, in connection with the execution, delivery and performance by the Company,
         and the validity and enforceability of, this Agreement and the Notes.

                          (d)     Closing Certificate. A certificate of an authorized officer of the Company, dated
         as of the applicable Closing, certifying on behalf of the Company that the closing conditions set forth in
         Section 3.1, Section 3.2 and Section 3.4 have been satisfied.


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                   Section 3.6     Additional Closing Conditions. As a condition to the obligation of Investors to
          consummate an Additional Closing, (a) the Company shall have performed and complied with all
          agreements and conditions contained in this Agreement required to be performed or complied with by it
          prior to or at an Additional Closing, and (b) the representations and warranties of the Company in this
          Agreement shall be true and correct in all material respects at the time of an Additional Closing.

                                              SECTION 4.
                            REPRESENTATIONS AND WARRANTIES OF THE COMPANY

                 The Company represents and warrants to Investors that the following statements are true, correct
          and complete as of the Initial Closing and any Additional Closing:

                   Section 4.1     Organization, Good Standing. Corporate Power and Qualification. The Company
          is a corporation duly organized, validly existing and in good standing under the laws of the Province of
          British Columbia, and has all requisite corporate power and authority to own and operate its properties and
          assets and to cany on its business as now conducted and as currently proposed to be conducted. The
          Company is duly qualified and authorized to do business, and is in good standing as a foreign corporation,
          in each jurisdiction where the nature of its activities and of its properties (both owned and leased) makes
          such qualification necessary, except where the failure to be so qualified would not have a Material Adverse
          Effect upon the financial condition or operations of the Company or its properties.

                  Section 4,2      Capitalization. The authorized capital of the Company consists, immediately prior
         to the Closing, of common shares (the “Common Shares”), 2,315,828 shares of which are issued and
         outstanding immediately prior to the Initial Closing. All of the outstanding Common Shares have been
         duly authorized, are fully paid and nonassessable and were issued in compliance with all applicable federal
         and state securities laws. Except for such outstanding Common Shares, there are no other issued and
         outstanding Equity Securities of the Company of any kind, class or character. There are no outstanding or
         authorized subscriptions, options, warrants, rights, agreements or commitments to which the Company is a
         party or which are binding upon the Company providing for the issuance or redemption of any Equity
         Securities, or any options or rights with respect thereto. There are no agreements to which the Company is
         a party or by which it is bound with respect to the voting, registration or the sale or transfer of any Equity
         Securities of the Company. Upon any conversion of the Notes into Equity Securities of the Company as
         provided for in this Agreement, such Equity Securities will be duly authorized, validly issued, and free and
         clear of any Liens when issued in accordance with this Agreement and the Notes.

                  Section 4.3       Subsidiaries. The Company does not currently own or control, directly or
         indirectly, any interest in any other corporation, partnership, trust, joint venture, limited liability company,
         association, or other business entity. The Company is not, directly or indirectly, a participant in any joint
         venture or partnership.

                 Section 4.4      Authorization. All corporate action required to be taken by the Company to
         authorize the Company to enter into this Agreement and to issue the Notes at the Closings has been taken.
         All action on the part of the officers of the Company necessary for the execution and delivery of this
         Agreement, the performance of all obligations of the Company under this Agreement to be performed as of
         the Closings, and the issuance and delivery of the Notes has been taken. This Agreement and the Notes,
         when executed and delivered by the Company, shall constitute valid and legally binding obligations of the
         Company, enforceable against the Company in accordance with their terms.

                 Section 4.5       Title to Properties and Assets. The Company has good and marketable title to its
         properties and assets (except properties and assets held under capitalized leases) and has good title to all its
         leasehold interests, in each case subject to no Liens. The tangible property and assets held by the Company


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              under any lease are held under leases that remain in force, and there exists no default or other occurrence
              or condition that could result in a default or termination thereunder.

                     Section 4.6      Material Liabilities. The Company has no material liability or obligation, absolute
             or contingent (individually or in the aggregate), except obligations and liabilities incurred in the ordinary
             course of business that are not individually or in the aggregate material or that are of a type or nature not
             required under GAAP to be reflected in financial statements. Neither the Company nor any officer of the
             Company has knowledge of any basis for any other material claim against or liability or obligation of the
             Company. The Company does not have any outstanding indebtedness for borrowed money.

                       Section 4.7       Obligations to Related Parties. There are no material liabilities or obligations,
             absolute or contingent (individually or in the aggregate), of the Company to officers, managers, members,
             or employees, including any member of their immediate families, other than (a) for payment of normal base
             salary for services rendered, (b) reimbursement of reasonable expenses incurred on behalf of the Company,
             and (c) for other standard employee benefits made generally available to all employees. None of the
             officers, managers, members, or employees of the Company, or any member of their immediate families,
             are indebted to the Company. No officer, manager or member, or any member of their immediate families,
             is, directly or indirectly, interested in any material contract with the Company (other than such contracts as
             relate to any such person’s ownership of Common Shares or other securities of the Company).

                     Section 4.8     Litigation. There is no pending action, suit, proceeding, arbitration, mediation,
             complaint, claim, charge or investigation before any Governmental Authority, or to the Company’s
             knowledge, currently threatened in writing (a) against the Company or (b) against any consultant, officer,
             manager, member or of the Company arising out of his or her consulting, employment or other relationship
             with the Company or that could otherwise materially impact the Company.

                       Section 4.9     Intellectual Property. The Company owns or possesses sufficient legal rights to
             all Intellectual Property (as defined below) that is necessary to the conduct of the Company’s business as
             now conducted and as presently proposed to be conducted (the “Company Intellectual Property”) without
             any violation or infringement (or in the case of third-party patents, patent applications, trademarks,
             trademark applications, service marks, or service mark applications, without any violation or infringement
             known to the Company) of the rights of others. No product or service marketed or sold (or proposed to be
             marketed or sold) by the Company violates or will violate any license or infringes or will infringe any rights
             to any patents, patent applications, trademarks, trademark applications, service marls, trade names,
             copyrights, trade secrets, licenses, domain names, mask works, information and proprietary rights and
            processes (collectively, “Intellectual Property”) of any other party, except that with respect to third-party
            patents, patent applications, trademarks, trademark applications, service marks, or service mark
            applications the foregoing representation is made to the Company’s knowledge only. Other than with
            respect to commercially available software products under standard end-user object code license
            agreements, there is no outstanding option, license, agreement, claim, encumbrance or shared ownership
            interest of any kind relating to the Company Intellectual Property, nor is the Company bound by or a party
            to any options, licenses or agreements of any kind with respect to the Intellectual Property of any other
            person. The Company has not received any written communications alleging that the Company has violated
            or, by conducting its business, would violate any of the Intellectual Property of any other person.

                     Section 4,10   Employee and Consultant Matters. Each current and former employee, consultant
            and officer of the Company has executed an agreement with the Company regarding confidentiality and
            proprietary information substantially in the form or forms delivered to the Investors. No current or former
            employee or consultant has excluded works or inventions from his or her assignment of inventions pursuant
            to such agreement. To the Company’s knowledge, no such employees or consultants is in violation thereof.
            To the Company’s knowledge, none of its employees is obligated under any judgment, decree, contract,
            covenant or agreement that would materially interfere with such employee’s ability to promote the interest
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          of the Company or that would interfere with such employee’s ability to promote the interests of the
          Company or that would conflict with the Company’s business.

                    Section 4.11     Compliance with Other Instruments. The Company is not in violation or default
           (a) of any provisions of its Certificate of Incorporation or its bylaws, (b) of any judgment, order, writ or
           decree of any court or Governmental Authority, (c) under any agreement, instrument, contract, lease, note,
          indenture, mortgage or purchase order to which it is a party, or, (d) to its knowledge, of any provision of
          any law applicable to the Company. The execution, delivery and performance of this Agreement and the
          Notes and the consummation of the transactions contemplated hereby will not result in any such violation
          or default, or constitute, with or without the passage of time and giving of notice, either (i) a default under
          any such judgment, order, writ, decree, agreement, instrument, contract, lease, note, indenture, mortgage or
          purchase order or (ii) an event which results in the creation of any Lien upon any assets of the Company or
          the suspension, revocation, forfeiture, or nonrenewal of any material permit or license applicable to the
          Company.

                  Section 4.12     Material Agreements. Except for this Agreement and the Notes, there are no
          agreements, understandings, instruments, contracts or proposed transactions to which the Company is a
         party that involve (a) obligations (contingent or otherwise) of, or payments to, the Company in excess of
          $25,000, (b) the license of any Intellectual Property to or from the Company other than licenses with respect
         to commercially available software products under standard end-user object code license agreements or
         standard customer terms of service and privacy policies for Internet sites, (c) the grant of rights to
         manufacture, produce, assemble, license, market, or sell its products to any other person, or that limit the
         Company’s exclusive right to develop, manufacture, assemble, distribute, market or sell its products, or (d)
         indemnification by the Company with respect to infringements of proprietary rights other than standard
         customer or channel agreements (each, a “Material Agreement”'). The Company is not in material breach
         of any Material Agreement. Each Material Agreement is in full force and effect and is enforceable by the
         Company in accordance with its respective terms, except as may be limited by (i) applicable bankruptcy,
         insolvency, reorganization or others laws of general application relating to or affecting the enforcement of
         creditors’ rights generally, or (ii) the effect of rules of law governing the availability of equitable remedies

                  Section 4.13    Offering. Assuming the accuracy of the representations and warranties of the
         Investors contained in SECTION 5. the offer, issuance and sale of the Notes and the Equity Securities into
         which such Notes are convertible (collectively, the "Issued Securities") are and will be exempt from the
         registration and prospectus delivery requirements under applicable law, and have been registered or
         qualified (or are exempt from registration and qualification) under the registration, permit or qualification
         requirements of all applicable state securities laws.

                 Section 4.14    Disclosure. No representation or warranty made by the Company in this
        Agreement or the Notes or any financial statement, certificate, Schedule or exhibit prepared and furnished
        or to be prepared and furnished by the Company or its representatives pursuant hereto contains or will
        contain any untrue statement of material fact, or omits or will omit to state a material fact necessary to make
        the statements contained herein or therein not misleading in light of the circumstances under which they
        were furnished.

                                             SECTION 5.
                            REPRESENTATIONS AND WARRANTIES OF INVESTORS

                Each Investor, for that Investor alone, represents and warrants to the Company that as of the Initial
        Closing and any Additional Closing:




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                    Section 5.1     Power and Authority. The Investor has the requisite capacity, power or authority
           to enter into this Agreement and to purchase the Note such Investor has agreed to purchase subject to all of
           the terms of this Agreement and the Note.

                    Section 5.2     Due Execution. This Agreement has been duly authorized, executed and delivered
           by the Investor, and, upon due execution and delivery by the Company, this Agreement will be a valid and
           legally binding obligations of the Investor, enforceable against the Investor in accordance with their terms.

                   Section 5.3      Investment Representations.

                           (a)     This Agreement is made with the Investor in reliance upon the Investor’s
          representation to the Company, which by such its acceptance hereof the Investor hereby confirms, that the
          Issued Securities to be received by such Investor will be acquired for investment for such Investor’s own
          account, not as a nominee or agent, and not with a view to the sale or distribution of any part thereof, and
          that such Investor has no present intention of selling, granting participation in, or otherwise distributing the
          same. By executing this Agreement, the Investor further represents that such Investor does not have any
          contract, undertaking, agreement, or arrangement with any person to sell, transfer or grant participations to
          such person, or to any third person, with respect to any of the Securities.

                           (b)       The Investor understands that the Issued Securities have not been registered under
          applicable law on the grounds that the sale provided for in this Agreement and the issuance of Issued
          Securities hereunder is exempt from registration under applicable law, and that the Company’s reliance on
          such exemption is predicated in part on the Investor’s representations set forth herein. The Investor realizes
          that the basis for the exemption may not be present if, notwithstanding such representations, the Investor
          has in mind merely acquiring the Issued Securities for a fixed or determined period in the future, or for a
          market rise, or for sale if the market does not rise. The Investor does not have any such intention.

                          (c)      The Investor represents and warrants that: (i) such Investor’s financial situation is
         such that such Investor can afford to bear the economic risk of holding the Issued Securities purchased by
         such Investor for an indefinite period of time and suffer a complete loss of such Investor’s investment in
         the Issued Securities; (ii) such Investor’s knowledge and experience in financial and business matters are
         such that such Investor is capable of evaluating the merits and risks of such Investor’s purchase of the
         Issued Securities as contemplated by this Agreement; (iii) such Investor understands that such Investor’s
         purchase of the Issued Securities is a speculative investment; (iv) the purchase of the Issued Securities by
         such Investor has been duly and properly authorized and this Agreement has been duly executed by such
         Investor or on such Investor’s behalf, and constitutes such Investor’s valid and legally binding obligation
         enforceable in accordance with its terms; and (v) such Investor has had an opportunity to ask questions and
         receive answers from the Company regarding the terms and conditions of the sale of the Issued Securities.

                           (d)     The Investor understands that the Issued Securities may not be sold, transferred or
         otherwise disposed of without registration under applicable law or an exemption therefrom, and that in the
         absence of an effective registration statement covering the Issued Securities or an available exemption from
         registration under applicable law, the Issued Securities must be held indefinitely. The Investor represents
         that, in the absence of an effective registration statement covering the Issued Securities such Investor will
         sell, transfer, or otherwise dispose of the Issued Securities only in a manner consistent with the
         representations set forth herein.

                          (e)      The Investor agrees that in no event will such Investor make a transfer or
         disposition of any of the Issued Securities (other than pursuant to an effective registration statement under
         applicable law), unless and until (i) such Investor shall have notified the Company of the proposed
         disposition and shall have furnished the Company with a statement of the circumstances surrounding the
         disposition, and (ii) if requested by the Company, at the expense of such Investor or transferee, such
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          Investor shall have furnished to the Company an opinion of counsel, reasonably satisfactory to the
          Company, to the effect that such transfer may be made without registration under applicable law.
          Notwithstanding the provisions of this Section 5.3(e ), no such opinion shall be required in the case of
          transfers made by the Investor to an Affiliate of such Investor.

                          (f)     The Investor understands that each certificate representing the Equity Securities
          into which such Notes are convertible will be endorsed with a legend substantially as follows:

                  THE SECURITIES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN
                  REGISTERED UNDER APPLICABLE SECURITIES LAWS. THESE SECURITIES
                  HAVE BEEN ACQUIRED FOR INVESTMENT AND NOT WITH A VIEW TO
                  DISTRIBUTION OR RESALE, AND MAY NOT BE SOLD, MORTGAGED,
                  PLEDGED, HYPOTHECATED OR OTHERWISE TRANSFERRED WITHOUT AN
                  EFFECTIVE REGISTRATION STATEMENT FOR SUCH SECURITIES UNDER
                  APPLICABLE SECURITIES LAWS, OR THE AVAILABILITY OF AN EXEMPTION
                  FROM THE REGISTRATION UNDER APPLICABLE SECURITIES LAWS.

                  Section 5.4      Government Consents. No consent, approval or authorization of or designation,
          declaration or filing with any state, federal, or foreign governmental authority on the part of the Investor
          because of any special characteristic of the Investor is required in connection with the valid execution and
          delivery of this Agreement by the Investor, and the consummation by the Investor of the transactions
          contemplated hereby and thereby; provided, however, that the Investor makes no representations as to the
          Company’s compliance with applicable state securities laws.

                  Section 5.5     Litigation. There is no claim, action, suit, proceeding, complaint, charge or
          investigation pending or, to Investor’s knowledge, threatened against Investor before any court or
          administrative agency or that questions the validity of this Agreement or the right of Investor to enter them
          or consummate the transactions contemplated by them.

                                                   SECTION 6.
                                        EVENTS OF DEFAULT AND REMEDIES

                 Section 6.1       Events ofDefault. The occurrence or existence of any one or more of the following
         events shall constitute an “Event ofDefault”'.

                         (a)    The failure by the Company to pay the principal amount of any Note or interest
         accrued thereon when due, and such non-payment continues for a period of five (5) calendar days thereafter;

                        (b)      The material breach by the Company of any representation, warranty or covenant
         of the Company in this Agreement or any Note, and, in the case of a breach of any such covenant, the failure
         of the Company to cure such breach within ten (10) calendar days after receipt of written notice thereof;

                         (c)     The commencement by or against the Company of any bankruptcy, insolvency,
         arrangement, reorganization, receivership or similar proceedings under any federal or applicable state law
         that remains un-dismissed for a period of ninety (90) days; and

                         (d)      The cessation of the Company’s business operations.

                  Section 6.2     Remedies of the Investors Agent upon Occurrence of Event of Default. Upon the
         occurrence of an Event of Default (other than an Event of Default described in Section 6.1(c) or Section
         6.1(d)). the Investors may, by written notice to the Company, declare the entire amount of the Obligations,
         including, without limitation, the entire principal and all accrued interest then outstanding under the Notes,
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           to be, and the same shall thereupon become, immediately due and payable in full by the Company. When
           any Event of Default described in Section 6.1 (cl or Section 6.1(d) shall occur, the entire amount of the
           Obligations, including, without limitation, the entire principal and all accrued interest then outstanding
           under the Notes shall thereupon become immediately due and payable without notice of any kind (including
           any notice by or consent of the Investor), which notice is hereby expressly waived by the Company.

                   Section 6.3     Annulment of Acceleration. The provisions of the foregoing Section 6.2 are
          subject to the condition that, if all or any part of the Obligations have been declared or have otherwise
          become immediately due and payable by reason of the occurrence of any Event of Default, the Investors,
          by written instrument delivered to the Company (an “Annulment Notice”), may, in the Investors’ sole
          discretion, rescind such declaration and the consequences thereof as to all of the Notes; provided that at the
          time such Annulment Notice is delivered no judgment or decree has been entered for the payment of any
          monies due pursuant to such Obligations in connection therewith and no such action shall constitute a
          waiver of any right to accelerate the Notes in the future as a result of the same Event of Default or any
          subsequent Event of Default.

                   Section 6.4    Remedies. No right or remedy conferred upon or reserved to the Investors under
          this Agreement or the Notes is intended to be exclusive of any other right or remedy, and every right and
          remedy shall be cumulative and in addition to every other right or remedy given hereunder or now or
          hereafter existing under the Notes, or under applicable law. Every right and remedy given by this
          Agreement and the Notes, or under applicable law to the Investor may be exercised from time to time and
          as often as may be deemed expedient by the Investor, subject to the provisions of Section 6.2 and Section
          63.

                  Section 6.5      Conduct No Waiver. No course of dealing on the part of the Investors, or any
         delay or failure on the part of any Investor to exercise any of such Investor’s rights, shall operate as a waiver
         of such right or remedy or otherwise prejudice such Investor’s rights, powers and remedies. If the Company
         fails to pay, when due (after, to the extent specifically required or provided for hereunder, notice and
         expiration of any applicable cure period), the principal of, or the interest on, the Notes, or fails to comply
         with any other provision of this Agreement, the Company shall pay to each applicable Inventor, on demand,
         such additional amounts as are necessary to cover the out-of-pocket costs and expenses, including, but not
         limited to, reasonable attorneys’ fees, incurred by such Investor in enforcing the Notes and/or collecting
         any sums due on the Notes or in otherwise enforcing such Investor’s rights under this Agreement or the
         Notes.

                   Section 6.6     Indemnification. The Company shall indemnify, defend, and hold harmless the
         Investors and their respective agents, officers, employees and representatives from all claims and suits for
         damages or loss, and from all judgments recovered therefor and for expenses in defending any such claims
         or suits, including court costs, attorneys’ fees, and for any other expenses caused by an act or omission of
         the Company or its contractors, agents, officers or employees in connection with performance of this
         Agreement and the Notes.

                                                   SECTION 7.
                                           COVENANTS AND AGREEMENTS.

                 Section 7.1       Reimbursement of Fees. The Company shall be responsible for (a) the fees and
         expenses of attorneys, accountants, consultants and any other representative or agent retained by the
         Investors in regard to this Agreement and (b) the outstanding fees owed to Polsinelli of approximately
         $5,250 for intellectual property legal services, and all such fees and expenses shall be paid by the Company
         from the proceeds of the Initial Closing on or promptly following the Initial Closing.



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                  Section 7.2       Negative Covenants. The Company covenants and agrees, that for so long as any
          Note is outstanding, the Company shall not, either directly or indirectly by amendment, merger,
          consolidation or otherwise, do any of the following without the written consent or affirmative vote of the
          Investors, consenting, and any such act or transaction entered into without such consent or vote shall be
          null and void ab initio, and of no force or effect:

                           (a)     repurchase or redeem any of the Company’s Equity Securities or make, pay or
          declare and distribution upon any of the Company’s Equity Securities;

                          (b)      sell, assign, grant an exclusive license, pledge or encumber material assets,
          technology or intellectual property of the Company or any subsidiary other than in the ordinary course of
          business;

                           (c)     sell, assign, grant a license, pledge or encumber any of the Company’s rights, title
          and interest in and to the assets relating to the Felix patented online technology infrastructure and the
          associated software system, the resulting transaction services, any products derived for resale or license
          from the Felix technology, including but not limited to, Felix Cloud, Felix Terminal and Felix Checkout,
          and any contracts serving third parties such as Sightline (collectively, the “Payfelix Platform”);

                         (d)     liquidate or dissolve, merge, amalgamate or consolidate with or into, acquire any
          business organization or sell or issue any Equity Securities (other than in connection with an Equity
          Financing);

                           (e)     create, grant or suffer the existence of any lien, encumbrance or other security
          interest, other than a Permitted Lien, with respect to any of the material properties and assets of the
          Company in favor of a third party (a “Third Party Lien”) unless the Company shall have first granted to the
          holders of the Notes a pro rata security interest with respect to such properties or assets that is senior to
          such Third Party Lien, including priority right of payment; or

                          (f)      incur any indebtedness for borrowed money, other than (i) pursuant to Notes issued
         under this Agreement or (ii) in the ordinary course of business, unless such indebtedness is and remains
         subordinate in right of payment to the Notes pursuant to a subordination agreement on terms satisfactory to
         the Investors.

                   As used herein, “Permitted Lien” means any (i) purchase money liens or purchase money security
          interests upon or in any property acquired by the Company, (ii) lien for taxes, assessments, or similar
         charges not yet due and payable and (iii) lien of materialmen, mechanics, warehousemen or other like lien
         arising securing obligations which are not yet delinquent; provided, that (A) the applicable obligation arises
         in the ordinary course of business, (B) in the case of (ii) and (iii), reserves are maintained with respect to
         such obligations in accordance with generally accepted accounting principles, (C) such lien or security
         interest is not created in connection with the borrowing of money and (D) such lien or security interest does
         not individually or in the aggregate materially detract from the value, use, or transferability of the assets
         that are subject to such lien or security interest.

                  Section 7.3       Delivery of Financial Statements. The Company covenants and agrees, that for so
         long as any Note is outstanding, the Company shall, within fifteen (15) days after March 31, June 30,
         September 30 and December 31, delivery to the Investors a consolidated balance sheet of the Company and
         its subsidiaries as of the end of each such quarterly period, and consolidated statements of income and cash
         flows of the Company and its subsidiaries for such period and for the current fiscal year to date, prepared
         in accordance with GAAP (except as disclosed in reasonable detail therein and subject to normal year-end
         audit adjustments and the absence of notes thereto).


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                   Section 7,4     Board Representation. Robert Alpert, on behalf of the Investors, shall have the
          right to designate one member to serve on the board of directors of the Company and the Company shall
          take such action, including shareholder approval, to cause such member to be appointed to such board.

                    Section 7.5      Recurring Revenue Threshold. In the event the Company believes that the
           Recurring Revenue Threshold has been achieved as of December 31, 2021, it will prepare (or cause to be
           prepared) and deliver to the Investors a statement of the Company’s calculations of the Recurring Revenues
           and the various components thereof (the “Recurring Revenue Statement’). Within the twenty (20) day
           period after delivery by the Company of the Recurring Revenue Statement, the Investors will, in a written
           notice to the Company, either accept the Recurring Revenue Statement, or, in the event that the Investors
           believe that the Recurring Revenue Statement is inaccurate, describe in reasonable detail any proposed
           adjustments to the Recurring Revenue Statement which the Investors believe should be made and the basis
           therefor. If the Company has not received such notice of proposed adjustments within such twenty (20)
           day period, the Recurring Revenue Statement will be deemed to have been accepted and agreed to by the
           Investors in the form in which such Recurring Revenue Statement is delivered by the Company and will be
           final and binding on the Company and the Investors. The Company and the Investors will negotiate in good
           faith to resolve any dispute over the Investors’ proposed adjustments to Recurring Revenue Statement,
          provided that if any such dispute is not resolved within twenty (20) days following receipt by the Company
          of the proposed adjustments, the Company and the Investors jointly will select (or, if the Company and the
          Investors are unable to agree, the American Arbitration Association will select) an independent accounting
          firm which has not had a material relationship with the Company, Sellers or any of their respective Affiliates
          within two (2) years preceding such selection (such firm, the Accounting Firm”) to resolve by arbitration
          any remaining dispute over the Investors’ proposed adjustments. The Accounting Firm will resolve the
          items in dispute and render a written report on the resolved disputed items (and only on those disputed
          items) within thirty (30) days after the date on which they are engaged or as soon thereafter as possible. In
          resolving any disputed item, the Accounting Firm may not assign a value to any item greater than the
          greatest value for such item claimed by the Company or the Investors or less than the smallest value for
          such item claimed by the Company or the Investors. The resolution of the dispute by the Accounting Firm
         will be final and binding upon the Company and the Investors except in the case of fraud or manifest clerical
          error, and judgment may be entered on the award. The cost of the services of the Accounting Firm will be
         allocated by the Accounting Firm between the Company and the Investors in the same proportion that the
         aggregate amount of such resolved disputed items so submitted to the Accounting Firm that is
         unsuccessfully disputed by each such party (as finally determined by the Accounting Firm) bears to the
         total amount of such resolved disputed items so submitted.

                                                  SECTION 8.
                                         INTERPRETATION OF AGREEMENT

                 Section 8.1     Certain Terms Defined. When used in this Agreement, the following capitalized
         terms shall have the meanings included:

                 “Affiliate” means, with respect to any Person, (a) a Person that, directly or indirectly, or through
         one or more intermediaries, controls such Person, (b) any Person that is controlled by, or is under common
         control with, such Person, and/or (c) each of such Person’s officers or directors (or Persons functioning in
         substantially similar roles) and the spouses, parents, descendants and siblings of such officers, directors or
         other Persons. A Person shall be deemed to control a Person if such Person possesses, directly or indirectly,
         the power, to direct or cause the direction of the management .and policies of such Person, whether through
         the ownership of voting securities, by contract or otherwise.

                   “Business Day” means each day of the week except Saturdays, Sundays and days on which banking
         institutions are authorized by law to close in the State of Ohio.

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                   “Equity Financing” means a bona fide transaction or series of transactions with the principal
           purpose of raising capital, pursuant to which the Company issues and sells Equity Securities and from which
           the Company receives gross proceeds of at least $5,000,000.00 (excluding, for the avoidance of doubt, the
           principal amount and accrued interest under the Notes).

                    “Equity Securities” means any (a) capital shares of the Company, (b) any securities conferring the
           right to purchase capital shares of the Company, and (c) any securities directly or indirectly convertible
           into, or exchangeable for (with or without additional consideration) capital shares of the Company.

                    “GAAP” means generally accepted accounting principles, applied on a consistent basis, as set forth
           in Opinions of the Accounting Principles Board of the American Institute of Certified Public Accountants
           or in statements of the Financial Accounting Standards Board or their respective successors and that are
           applicable in the circumstances as of the date in question.

                   “Governmental Authority" means the government of any nation, province, state, city or locality or
           other political subdivision of any thereof, or any entity, authority, agency, division, department or person
           exercising executive, legislative, judicial, regulatory or administrative functions of or pertaining to any
           government, regulation or compliance.

                     “Indebtedness” means for any Person: (a) all indebtedness, whether or not represented by bonds,
           debentures, notes, securities or other evidences of indebtedness, for the repayment of money borrowed, and
           (b) all indebtedness secured by liens on the Company’s property other than Permitted Liens.

                   “Lien” means any lien, mortgage, security interest, tax lien, pledge, encumbrance, conditional sale
          or title retention agreement or any other interest in property designed to secure the repayment of
          Indebtedness or any other obligation, whether arising by agreement, operation of law or otherwise.

                   “Material Adverse Effect' means (a) a material adverse effect on the business, operations,
          properties, assets or financial condition of the Company, or (b) the material impairment of the ability (i) of
          the Company to perform its obligations under this Agreement or the Notes or (ii) of Investors to enforce or
          collect any of the Obligations.

                   “Maturity Date” means the date of the eighteen (18) month anniversaiy of the Effective Date.

                   “Obligations” means any and all Indebtedness, financial liabilities or payment of the Company to
          the Investors of the Notes of every kind, nature and description, direct or indirect, secured or unsecured,
          joint, several, joint and several, absolute or contingent, due or to become due, now existing or hereafter
          arising, under this Agreement, including without limitation all indebtedness and obligations evidenced by
          the Notes, together with all renewals, modifications, extensions, increases, substitutions or replacements of
          any of such Indebtedness.

                   “Permitted Liens” means (a) Liens securing purchase money Indebtedness and capitalized lease
          obligations incurred to finance the acquisition of capital assets by the Company, (b) Liens for taxes not yet
          due or being contested in good faith by appropriate proceedings diligently conducted, against which
          adequate reserves in accordance with GAAP have been established to the reasonable satisfaction of the
          Investors, (c) materialmen’s, mechanics’, workers’, repairmen’s, employees’ or other like Liens arising
          against the Company in the ordinary course of business, and (d) deposits to secure payment of worker’s
          compensation, unemployment insurance or other social security benefits.

                  “Person” means any individual, sole proprietorship, corporation, limited liability company,
          business trust, unincorporated organization, association, company, partnership, joint venture,


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          Governmental Authority (whether national, federal, state, county, municipality or otherwise, and including,
          without limitation, any instrumentality, division, agency, body or department thereof) or other entity.

                   “Recurring Revenues” means newly generated contractual recurring revenues of the Company
          (and not any Affiliate of the Company) that are verifiable and predictable, with a margin of not less than
          ninety (90%), and which are attributable to the Payfelix Platform. Such Recurring Revenues will be
          calculated as of 11:59 p.m. eastern time on December 31, 2021 and in accordance with GAAP, and as
          reflected in the financial statements of the Company.

                    “Recurring Revenues Threshold” means Recurring Revenues of at least $2,500,000.

                  “Requisite Investors” means the holders of Notes representing at least fifty percent (50%) of the
          aggregate principal amount of the Notes at the time outstanding.

                  “Sale of the Company” means (a) a transaction or series of related transactions in which any
          “person” or “group” (within the meaning of Section 13(d) and 14(d) of the Securities Exchange Act of
          1934, as amended), becomes the “beneficial owner” (as defined in Rule 13d-3 under the Securities
         Exchange Act of 1934, as amended), directly or indirectly, of more than 50% of the outstanding Equity
          Securities having the right to vote for the election of members of the Company’s managers, (b) any
         reorganization, merger or consolidation of the Company, other than a transaction or series of related
         transactions in which the holders of the voting Equity Securities outstanding immediately prior to such
         transaction or series of related transactions retain, immediately after such transaction or series of related
         transactions, at least a majority of the total voting power represented by the outstanding voting Equity
         Securities or such other surviving or resulting entity or (c) a sale, lease, license or other disposition of all
         or substantially all of the assets of the Company.

                 “Valuation Cap” means (a) a fully-diluted (including any convertible or exchangeable Equity
         Securities, but excluding the Notes) enterprise valuation of the Company of $5,000,000, or (b) in the event
         the Recurring Revenue Threshold is achieved, a fully-diluted (including any convertible or exchangeable
         Equity Securities, but excluding the Notes) enterprise valuation of the Company of $ 10,000,000.

                    Terms that are defined in other Sections of this Agreement shall have the meanings specified
         therein.

                 Section 8.2     References. When used in this Agreement, the words “hereof,” “herein,”
         “hereunder” and words of similar import shall refer to this Agreement as a whole and not to any particular
         provision of this Agreement, and the words “Article,” “Section,” “subsection,” “clause,” “Annex,”
         “Schedule” and “Exhibit” refer to Articles, Sections, subsections and clauses of, and Annexes, Schedules
         and Exhibits to, this Agreement unless otherwise specified. As used herein the neuter gender shall be
         deemed to include the masculine and feminine gender.

                                                       SECTION 9.
                                                    MISCELLANEOUS

                 Section 9.1      Notices. All notices and other communications under this Agreement must be in
        writing and are deemed duly delivered when (a) delivered if delivered personally or by nationally
        recognized overnight courier service (costs prepaid), (b) sent by electronic email with confirmation of
        transmission by the transmitting equipment (or, the first Business Day following such transmission if the
        date of transmission is not a Business Day) or (c) received or rejected by the addressee, if sent by certified
        mail, return receipt requested; in each case to the following addresses or emails and marked to the attention
        of the individual (by name or title) designated below (or to such other address, email or individual as a party
        may designate by notice to the other parties):
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          If to the Company:                                  Felix Payment Systems Ltd.
                                                              250 Howe St, Level 20
                                                              Suite 100-218
                                                              Vancouver, BC V6C 3RB
                                                              Attention: Owen Newport
                                                              Email: owen.newport@navfelix.com

          If to the Investors:                                Felix Payment Investors
                                                              35 Littles Point Rd.
                                                              E-302
                                                              Swampscott, MA 01907
                                                              Attn: Robert Alpert
                                                              Email: robert@danro.com

                   Section 9.2     Assignment, Sale of Interest. The Company may not sell, assign or transfer this
         Agreement or the Notes, or any portion thereof, or such party’s rights and obligations hereunder or
         thereunder, without the prior written consent of the Requisite Investors. Each Investor may sell, assign or
         transfer any of such Investor’s rights and obligations under this Agreement or the Notes (subject to the
         transfer restrictions contained in the Notes and/or described in Section 5.3(d), Section 5.3(e) and Section
         5.3(f)), or any portion hereof or thereof, including, without limitation, such Investor’s rights, title, interests,
         remedies, powers or duties hereunder or under the Notes.

                 Section 9.3      Successors and Assigns. This Agreement will inure to the benefit of and be
         binding upon the parties hereto and their respective successors and permitted assigns.

                  Section 9.4    Headings. The headings of the sections and subsections of this Agreement are
         inserted for convenience only and do not constitute a part of this Agreement.

                   Section 9.5     Counterparts. The parties may execute this Agreement in multiple counterparts,
         each of which constitutes an original as against the party that signed it, and all of which together constitute
         one agreement. The signatures of all parties need not appear on the same counterpart. The delivery of
         signed counterparts by facsimile or email transmission that includes a copy of the sending party’s signature
         is as effective as signing and delivering the counterpart in person.

                  Section 9.6      Integration and Severability. This Agreement, together with the Notes, embodies
         the entire agreement and understanding between the Company and Investors regarding the transactions
         contemplated therein and supersedes all prior agreements and understandings relating to the subject matter
         hereof. Any invalidity, illegality or limitation of the enforceability with respect to any one or more of the
         provisions of this Agreement, or any part thereof, shall in no way affect or impair the validity, legality or
         enforceability of any other provisions of this Agreement. In case any provision of this Agreement shall be
         invalid, illegal or unenforceable, it shall, to the extent practicable, be modified so as to make it valid, legal
         and enforceable and to retain as nearly as practicable the intent of the parties, and the validity, legality, and
         enforceability of the remaining provisions shall not in any way be affected or impaired thereby.

                  Section 9.7     Further Assurances. From and after the date of this Agreement, upon the request
         of the Investors, the Company shall execute and deliver such agreements, instruments, documents and other
        .writings as may be reasonably necessary or desirable to confirm and carry put and to effectuate fully the
         intent and purposes of this Agreement and the Notes.

                Section 9.8      Amendments. Waivers and Consents. Any provision in this Agreement or in the
        Notes to the contrary notwithstanding, changes in or additions to this Agreement or the Notes may be made,
        and compliance with any covenant or provision set forth herein or therein by any party may be omitted or
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           waived, only with the prior written consent of both parties. Any waiver or consent may be given subject to
           satisfaction of conditions stated therein and any waiver or consent shall be effective only in the specific
           instance and for the specific purpose for which it is given.

                   Section 9.9      Law Governing: Jurisdiction. The laws of Ohio (without giving effect to its
          conflicts of law principles) govern this Agreement and all matters arising out of or relating to this
          Agreement and the transactions contemplated hereby. The parties hereto hereby irrevocably submit to the
          exclusive jurisdiction of the federal or state courts of the State of Ohio over any proceeding arising out of
          or relating to this Agreement or any of the transactions contemplated hereby and each party hereby
          irrevocably agrees that all claims in respect of such proceeding may be heard and determined in such courts.
          The parties hereto hereby irrevocably waive any objection which they may now or hereafter have to the
          laying of venue of any proceeding brought in such courts or any claim that such proceeding brought in such
          courts has been brought in an inconvenient forum. Each of the parties hereto agrees that a judgment in such
          proceeding may be enforced in other jurisdictions by suit on the judgment or in any other manner provided
          by applicable law. Each of the parties hereto hereby irrevocably consents to process being served by any
          other party to this Agreement in any proceeding by delivery of a copy thereof in accordance with the
          provisions of Section 9.1.



                                                  [Signature Pages Follow]




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                   IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed and
           delivered by its respective officers thereunto duly authorized.

           COMPANY:                                       FELIX PAYMENT SYSTEMS LTD.
                                                                             ✓------- DocuSIgned by;




                                                               ---------------- *—aM»eeeeee*«t-—-------------
                                                          Name: Owen Newport
                                                          Title: Chief Executive Officer




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                                                                         OocuSioned by.




          INVESTOR:                                      __________ ■rcrgineir.-iiinan
                                                         Robert Alpert




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                                                      SCHEDULE A

                                            SCHEDULE OF INVESTORS

                       Name and Address                     Date of Investment         Principal Amount
           Robert Alpert                                         9/21/2020                  $25,000
           12802 North Scottsdale Road
                                                                12/21/2020                  $50,000
           Scottsdale, AZ 85252
           robert@danro.com                                       1/5/2021                  $50,000
                                                                 2/19/2021                  $200,000
                                                                 2/19/2021                 $150,000
           Roman Alpert Trust                                    2/12/2021                 $150,000
            12802 North Scottsdale Road
           Scottsdale, AZ 85252
           roman.alpert@gmail.com
           Don Sanders                                          2/17/2021                  $150,000
           5900 JP Morgan Chase Tower
           600 Travis, Suite 5800
           Houston, TX 77002
           Don.Sanders@smhgroup.com
           Andy Cracchiolo                                      2/21/2021                  $150,000
           3219 East Camelback Rd #785
           Phoenix, AZ 85018
           ac@cracchiolo.net
          Elk Camp Ventures, LLC                                2/21/2021                   $25,000
           8 The Green, Suite R
          Dover, DE 19901
          Attention: Matt Emennan
          mattemerman@gmail.com
          Hyperion Investments, LLC                             2/21/2021                  $50,000
          1720 Magoffin Ave
          El Paso, TX 79901
          Attention: Lane Gaddy
          lbgaddv@uniail.com
          James Taylor Irrevocable Trust                         2/25/21                   $50,000
          181 Elmwood Avenue Ext
          Gloversville, New York 12078
          seamus@calliope1 .com

          The R. David Hoover Revocable Trust dated              2/25/21                  $100,000
          January 30, 1997 as amended and restated
          September 14,2012
          7209 Rustic Trail
          Boulder, CO 80301
          rdavidhoover@msn.com
                                                                TOTAL                    $1,150,000


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                                               EXHIBIT 1.1
                                                   TO
                                  CONVERTIBLE NOTE PURCHASE AGREEMENT

                                                       Form of Note

                                                       (See attached.)




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                                            EXHIBIT A-2




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                    FIRST AMENDMENT TO CONVERTIBLE NOTE PURCHASE AGREEMENT



                  This First Amendment to Convertible Note Purchase Agreement (this “Amendment") is entered
          into as of the 5*'1 day of February, 2023 (the “Effective Date'’) between Felix Payment Systems Ltd,, a
          British Columbia corporation (the “Company"), and the persons and entities listed on the schedule of
          investors attached hereto as Schedule A (each an “Investor" and, collectively, the “Investors"), as such
          Schedule A may be amended in accordance with the Convertible Note Purchase Agreement dated February
          21,2021 (the “Agreement").

                                                          RECITALS

                WHEREAS, the Investors and the Company desire to enter into this Amendment to amend the
          Agreement on the terms and conditions set forth herein; and

                WHEREAS, certain capitalized terms used herein shall have the meanings ascribed to them in the
          Agreement;

                                                        AGREEMENT

                   NOW, THEREFORE, in consideration of the mutual promises, representations, warranties,
          covenants and conditions set forth in this Agreement and for other good and valuable consideration, the
          receipt and sufficiency of which are hereby acknowledged, the parties to this Agreement mutually agree as
          follows:

                  1.      The definition of Maturity Date in the Agreement is deleted in its entirety and replaced
          with the following:

                  “Maturity Date" means May 21,2023.

                  2,      Section 6.2 of the Agreement is amended by adding the following sentence to the end of
          Section 6.2:

                 Upon the occurrence of an Event of Default, the interest rate of each Note shall automatically, and
         without notice, increase to eighteen percent (18%).

                 3.       Effective February 1,2023, all accrued and unpaid interest on each Note shall be added to
         the principal balance of each Note (i.e. capitalized) as set forth below.

          Noteholder             Principal Balance    Start Date of        Accrued Interest    New      Principal
                                                      Interest             through and         Balance effective
                                                                           including January   February 1,2023
                                                                           31, 2023

          Robert Alpert          $25,000.00           9/21/20              $3,795.77           $28,795.77

          Robert Alpert          $50,000.00           12/21/20             $6,738.54           $56,738.54

          Robert Alpert          $50,000.00           1/5/21               $6,599.12           $56,599.12




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              Robert Alpert        $200,000.00         2/19/21             $24,732.18           $224,732.18

              Robert Alpert        $150,000.00         2/19/21             $18,549.13           $168,549.18

              Robert Alpert        $112,250.00         6/8/22              $4,448.39            $116,698.39

              Roman Alpert Trust $150,000.00           2/12/21             $18,742.41           $168,742.41

              Don Sanders          $150,000.00         2/17/21             $18,604.36           $168,604.36

              Andy Cracchiolo      $150,000.00         2/21/21            $18,493.91            $168,493.91

             Elk Camp Ventures,    $25,000.00          2/21/21            $3,082.32             $28,082.32
             LLC

              Hyperion             $50,000.00          2/21/21            $6,164.64             $56,164.64
              Investments, LLC

             The     R.    David' $100,000.00         2/25/21             $12,255.64           $112,255.64
             Hoover Revocable
             Trust dated January
             30,     1997     as
             amended         and
             restated September
             14,2012

             The James W.         $50,000.00          2/25/21             $6,127.82            $56,127.82
             Taylor Revocable
             Living Trust dated
             September 25,2001



                   4.      Within forty-five (45) days of execution of this Amendment, Company shall provide
           Investors with all of the information required under Section 7.3 of the Agreement, copies of all
           representations made by the Company to third-parties concerning the Company’s financial condition, and
           such other financial Information reasonably requested by Investors. Within fifteen (15) days ofexecution
           of this Amendment, Company shall provide Investors with a schedule of all current shareholders and
           debtholders.



                                                 [Signature Pages Follow]




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                    IN WITNESS WHEREOF, (he parties hereto have caused this Agreement to be executed and
            delivered by its respective officers thereunto duly authorized.

            COMPANY;


                                                        FELIX PAYMENT SYSTEMS LTD.
                                                               DoouMoMd by:

                                                           I
                                                        Name:^wen'Ww|)ort
                                                        Title: Chief Executive Officer




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            INVESTORS:
                                                           DocnStantti fay;




                                                        — reMPMC Wfrwj...
                                                        Robert Alpert

                                                       z------- Do«u9l0ned by;




                                                       D       Roman Alpert
                                                       *»y._____________
                                                       Title: Trustee & Benefi ci ary
                                                      z—Doousigned by:




                                                            ooijHWiybM&Cf:——----- ------ ---------------
                                                       Don Sanders
                                                      z-— OocirSigned by;




                                                       Andy Cracchtolo

                                                            DowtSlgnad by;




                                                       ^^ampVeiituies, LLC

                                                       By;^_______________

                                                       Title' Founc,ing Member
                                                      z— DeevSloned by:




                                                      j^pwion                             LLC

                                                              Lane Gaddy
                                                      By:____________________
                                                      y|tje, Manager




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                                                                                        X. fywU-
                                                                                    V                      ------------------------- - -----   •

                                                                                    The IL David Hoover Revocable Trust dated
                                                                                    January 30,1997 as amended and restated
                                                                                    September 14,2012
                                                                                   „      R. David Hoover
                                                                                   By:              _______________ ____ _____ .

                                                                                   Title: Trustee
                                                                                   z-—DocuSl^fitdby:




                                                                                   TKe\^mesWTaylor Revocable Living Trust
                                                                                   dated Septembers, 2001
                                                                                   „      Seamus
                                                                                   By:_____________________ _______ _

                                                                                   Title: Trustee




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                                                                                                                                      DocuSign
  Certificate Of Completion              ■   ,   •'
  Envelope Id: 3BBD539CA258476988D4O5032A698507                                                       Status: Completed
  Subject: Complete with DocuSign: First Amendment to Note,PDF
  Client Matter Number:
 Source Envelope:
 Document Pages: 5                                      Signatures: 8                                 Envelope Originator:
 Certificate Pages: 6                                   Initials: 0                                   Brian Darer
 AutoNav: Enabled                                                                                     620 South Tryon Street
 Envelopeld Stamping: Disabled                                                                        Suite 800
 Time Zone: (UTC-05:D0) Eastern Time (US & Canada)                                                    Charlotte, NC 28202
                                                                                                      briandarer@parkerpoe.com
                                                                                                      IP Address: 66.194.17.46

                                                                                                                    i:



 Status: Original                                       Holder: Brian Oarer                           Location: DocuSign
          2/6/2023 11:53:10 AM                                     briandarer@parkerpoe.com



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 Andy Cracchlolo                                                                                      Sent: 2/6/2023 12:00:31 PM
 ac@cracchlolo.nel                                                                                    Viewed: 2/7/2023 12:25:16 PM
                                                       k----- «WWAeADI2«<..
 Security Level; Email, Account Authentication                                                        Signed: 2/7/2023 1 2:25:30 PM
 (None)
                                                       Signature Adoption: Pre-selected Style
                                                       Using IP Address: 174.205.230.127
                                                       Signed using mobile
 Electronic Record and Signature Disclosure:
    Accepted: 2/7/2023 12:25:16 PM
    ID: 1bd9b6d6-fd39~4915-b29f-67c776f849a1

                                                       z—DocuSlcned by:                              Sent: 2/6/2023 12:00:32 PM
 Don Sanders
                                                       I P/vc Sovu/m                                 Viewed: 2/6/2023 4:02:27 PM
don.sandefs@smhgroup,com
                                                       '----- C0WT4DABPM0E..
Individual Owner                                                                                     Signed: 2/6/2023 4:02:34 PM
Security Level: Email, Account Authentication
(None)                                                 Signature Adoption: Pre-selected Style
                                                       Using IP Address: 98.154.47.218


Electronic Record and Signature Disclosure:
   Accepted: 2/6/2023 4:02:27 PM
   ID: 259bd00e-6260-4d70-938e-9224fa9941fc

Elk                                                                                                  Sent: 2/6/2023 12:00:32 PM
mattemerman@gmail.corn                                                                               Viewed: 2/6/2023 12:23:14 PM
                                                      '------ JMttOtMASaOO..
Founding Member                                                                                      Signed: 2/6/2023 12:23:41 PM
Elk Camp Ventures, LLC
                                                      Signature Adoption: Uploaded Signature image
Security Level: Email, Account Authentication
(None)                                                Using IP Address: 96.250.105.197


Electronic Record and Signature Disclosure:
   Accepted: 2/6/2023 1223:14 PM
   ID: 0e1e45e4-392c-4f2c-820e-5c27d769fa0f

Lane Gaddy                               .                                                           Sent: 2/6/2023 12:00:33 PM
Ibgaddy@gmall.com                                                                                    Viewed: 2/6/2023 12:02:35 PM
                                                      '------ EOMlAFValElieJ
Manager                                                                                              Signed: 2/6/2023 12:04:00 PM
Security Level: Email, Account Authentication
(None)                                                Signature Adoption: Pre-selected Style
                                                      Using IP Address: 70.126.230.218


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 [Signer Events -          ’                          Signature                                     Timestamp
     Accepted: 2/6/2023 12:02:35 PM
     ID: db16a5a2-a8c0-44f0-b8a9-20d0c9cdc80c

                                                         —OxuSigned by;
 R. David Hoover                                                                                    Sent: 2/6/2023 12:00:32 PM
 rdavldhoover@msn.com
 Trustee
 R. David Hoover Revocable Trust
                                                     C   —C?4E<B4a>e»«®D-.
                                                                                                    Viewed: 2/7/2023 4:49:35 PM
                                                                                                    Signed: 2/7/2023 4:51:17 PM

                                                     Signature Adoption: Pre-selected Style
 Security level: Email, Account Authentication
 (None}                                              Using IP Address: 134.56.8.36


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    ID: dbO9348a-r6/6-4648-939d-0c70b41a76d6

                                                         —Dxu£)$n«i*y:                              Sent: 2/6/2023 12:00:34 PM
 Robert Alpert
 robert@danro.com
 CEO
 Collegiate Parent, LLC
                                                     C                                              Viewed: 2/6/2023 3:14:05 PM
                                                                                                    Signed: 2/6/2023 3:14:55 PM

                                                     Signature Adoption: Pre-selected Style
 Security Level: Email, Account Authentication
 (None)                                              Using IP Address: 170.250.247.176


 Electronic Record and Signature Disclosure:
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    ID: ccf6s03b-cba7-4422-a01a-602634784364

                                                       —DxuBtoned fay:                             Sent: 2/6/2023 12:00:33 PM
 Roman Alpert
 roman.atpert@gmaii.com
Trustee & Beneficiary
Security Level: Email, Account Authentication
                                                     C                                             Viewed: 2/6/2023 12:04:08 PM
                                                                                                   Signed: 2/6/202312:05:01 PM

(None)                                               Signature Adoption: Pre-selected Style
                                                     Using IP Address: 24.160.67.90


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Seamus
seamus@calllope1 .com                                                                              Resent: 2/8/2023 9:41:50 AM
                                                         D61851DDWM2fi.
Trustee                                                                                            Viewed: 2/6/2023 10:02:03 AM
Security Level: Email, Account Authentication                                                      Signed: 2/8/2023 10:03:21 AM
(None)                                              Signature Adoption: Drawn on Device
                                                    Using IP Address: 73.243.118.241
                                                    Signed using mobile
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   Accepted: 2/7/2023 9:47:10 AM
   ID: 1 ad3aa02-0b58-4b1 e-abe8-972b65af7b83

InrPersQniSigner Events                            "Signature < -                             s    Timestamp '         ; ”

Editor Delivery Events                              Status                                    ’1 Timestamp                   ’ '

Agent Delivery Events                    v   '»*    Status                                         Timestamp              ’ 1

Intermediary Delivery Events                 '      Status                                         Timestamp

Certified Delivery Events                          Status                                          Timestamp

'Carbon Copy Events , ?                            Status                                          Timestamp

Witness Events          " ’ ,        -              Signature                                     i Timestamp ’

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Notary Events                               Signature ■        - -

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Completed                                  Security Checked                            2/8/2023 10:03:21 AM


Payment Events             <               Status                          '          Timestamps

Electronic Record and Signature Disclosure




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 Parties agreed to: Andy Cracchlolo, Don Sanders, Elk, Lane Gaddy, R. David Hoover, Robert Alpert, Roman Alpert. Seamus




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            Withdrawing your consent
            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
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            electronically is described below.
            Consequences of changing your mind
           If you elect to receive required notices and disclosures only in paper format, it will slow the
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          electronically to you through your DocuSign user account all required notices, disclosures,
          authorizations, acknowledgements, and other documents that are required to be provided or
          made available to you during the course of our relationship with you. To reduce the chance of
          you inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
          notices and disclosures to you by the same method and to the same address that you have given
          us. Thus, you can receive all the disclosures and notices electronically or in paper format through
          the paper mail delivery system. If you do not agree with this process, please let us know as
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           You may contact us to let us know of your changes as to how we may contact you electronically,
           to request paper copies of certain information from us, and to withdraw your prior consent to
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            To contact us by email send messages to: skiplohmeyer@parkerpoe.com

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          the body of such request you must state your e-mail address, full name, US Postal address, and
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          To withdraw your consent with Parker Poe Adams & Bernstein LLP
          To inform us that you no longer want to receive future notices and disclosures in electronic
          format you may:
                i. decline to sign a document from within your DocuSign account, and on the subsequent
                page, select the check-box indicating you wish to withdraw your consent, or you may;
                ii. send us an e-mail to skiplohmeyer@parkerpoe.com and in the body of such request you
                must state your e-mail, full name, IS Postal Address, telephone number, and account
                number. We do not need any other information from you to withdraw consent.. The
                consequences of your withdrawing consent for online documents will be that transactions
                may take a longer time to process..

          Required hardware and software
          Operating Systems:                                     Windows2000? or WindowsXP?
          Browsers (for SENDERS):                                Internet Explorer 6.0? or above
          Browsers (for SIGNERS):                                Internet Explorer 6.0?, Mozilla FireFox 1.0,
                                                                 NetScape 7.2 (or above)
          Email:                                                 Access to a valid email account
          Screen Resolution:                                     800 x 600 minimum
          Enabled Security Settings:
                                                                 •Allow per session cookies

                                                         •Users accessing the internet behind a Proxy
                                                              Server must enable HTTP 1,1 settings via
                                                             .proxy connection                         |
             ** These minimum requirements are subject to change. If these requirements change, we will
             provide you with an email message at the email address we have on file for you at that time
             providing you with the revised hardware and software requirements, at which time you will
             have the right to withdraw your consent.


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               To confirm to us that you can access this information electronically, which will be similar’ to
               other electronic notices and disclosures that we will provide to you, please verify that you
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                    SECOND AMENDMENT TO CONVERTIBLE NOTE PURCHASE AGREEMENT



                     This Second Amendment to Convertible Note Purchase Agreement (this “Amendment”) is entered
            into as of the    day of May, 2023 (the “Effective Date”) between Felix Payment Systems Ltd., a British
            Columbia corporation (the “Company”), and the persons and entities listed on the schedule of investors
            attached hereto as Schedule A (each an “Investor” and, collectively, the “Investors”), as such Schedule A
            may be amended in accordance with the Convertible Note Purchase Agreement dated February 21, 2021
            (the “Agreement”).

                                                          RECITALS

                  WHEREAS, the Investors and the Company desire to enter into this Amendment to amend the
            Agreement on the terms and conditions set forth herein; and

                 WHEREAS, certain capitalized terms used herein shall have the meanings ascribed to them in the
           Agreement;

                                                        AGREEMENT

                    NOW, THEREFORE, in consideration of the mutual promises, representations, warranties,
           covenants and conditions set forth in this Agreement and for other good and valuable consideration, the
           receipt and sufficiency of which are hereby acknowledged, the parties to this Agreement mutually agree as
           follows:

                   1.      The definition of Maturity Date in the Agreement is deleted in its entirety and replaced
           with the following:

                   “Maturity Date?' means August 21,2023.

                    2.       Within ten (10) days of execution of this Amendment, Company shall provide Investors
           with all of the information required under Section 7.3 of the Agreement, copies of all representations made
           by the Company to third-parties concerning the Company’s financial condition, and such other financial
           information reasonably requested by Investors. Within five (5) days of execution of this Amendment,
           Company shall provide Investors with a schedule of all current shareholders and debtholders. Failure to
           provide any of this information shall be an immediate default of the Agreement



                                                  [Signature Pages Follow}




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                    IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed and
            delivered by its respective officers thereunto duly authorized,

            COMPANY:


                                                         FELIX PAYMENT SYSTEMS LTD.
                                                             z—' DocuStynrt by:




                                                                                  ------
                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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            INVESTORS:



                                                         Robert Alpert


                                                             — Oocu9Jgn«<1 by.




                                                        t                d(fui
                                                             Sman1 A^erf Trust

                                                         _       Roman Alpert
                                                         By:_____________

                                                         Title: Trustee & Beneficiary




                                                        Don Sanders
                                                             • DocuSlgncd by




                                                        > nr?fmukMnrur-------
                                                        Andy Cracchiolo

                                                              OocuSIgMd by




                                                             -JMUCUXUSMC_____ _____________
                                                        Elk Camp Ventures, LLC

                                                        gy.Matthew Emerman

                                                        Titlc, Founding Member

                                                       y— 0«u3Jgn*d by




                                                        Hyperion Investments, LLC

                                                                Hyperi on
                                                        By:          _________________

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                                                         f—DocuSlcntd by:

                                                           £ Paw/ fedwr
                                                         The R. David Hoover Revocable Trust dated
                                                         January 30, 1997 as amended and restated
                                                         September 14,2012
                                                         _     R. David Hoover
                                                         By:_______________________________

                                                         Title: Trustee______________ _______




                                                         The James W. Taylor Revocable Living Trust
                                                         dated September25,2001

                                                         By:______________________________

                                                         Title:_____________________________




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                                                           The R. David Hoover Revocable Trust dated
                                                           January 30,1997 as amended and restated
                                                           September 14,2012

                                                           By:________________________________

                                                          Title:______________________________
                                                              OocuSignHl by:




                                                          The James W. Taylor Revocable Living Trust
                                                          dated September25, 2001
                                                          „       Seamus
                                                          By:________________________________
                                                              ,    Trustee
                                                          Title:_________________________




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                                             EXHIBIT B-l




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT’), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $25,000.00                                                                               February 21, 2021


                  Felix Payment Systems Ltd., a British Columbia corporation (the “Company”), hereby promises
          to pay to the order of Robert Alpert (the “Investor”), the principal sum of Twenty Five Thousand Dollars
          ($25,000.00), on or after the date hereof together with interest thereon calculated from September 21,
          2020 in accordance with the provisions of this Convertible Promissory Note (this “Note”). This Note is
          issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement’) and is also a “Note” as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                  The following is a statement of the rights of the Investor and the conditions to which this Note is
         subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                   4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
         application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                  8.      Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto; in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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           highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
           validity.

                    9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
           and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
           laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                    10.      Notices. Any notice, request or other communication required or permitted hereunder
           shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party

                                                   [Signature Page Follows]




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                   IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                         FELIX PAYMENT SYSTEMS LTD.


                                                         By,
                                                        Name: Owen Newport
                                                        Title: Chief Executive Officer




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                                            EXHIBIT B-2




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE "ACT'), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $50,000.00                                                                               February 21, 2021


                  Felix Payment Systems Ltd., a British Columbia corporation (the "Company”), hereby promises
          to pay to the order of Robert Alpert (the "Investor”), the principal sum of Fifty Thousand Dollars
          ($50,000.00), on or after the date hereof, together with interest thereon calculated from December 21,
          2020 in accordance with the provisions of this Convertible Promissory Note (this "Note"). This Note is
          issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement') and is also a "Note,” as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                  2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement,

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                   4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
           Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of die Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                 8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                          FELIX PAYMENT SYSTEMS LTD.


                                                          By:
                                                          Name: Owen Newport
                                                          Title: Chief Executive Officer




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                                             EXHIBIT B-3




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT’), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $50,000.00                                                                               February 21, 2021


                  Felix Payment Systems Ltd., a British Columbia corporation (the “Company"), hereby promises
         to pay to the order of Robert Alpert (the “Investor"), the principal sum of Fifty Thousand Dollars
         ($50,000.00), on or after the date hereof, together with interest thereon calculated from January 5,2021 in
         accordance with the provisions of this Convertible Promissory Note (this “Note"). This Note is issued
         pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as amended,
         restated, modified or supplemented), by and among the Company and the Investor (the “Purchase
         Agreement") and is also a “Note," as defined therein. Terms not defined herein shall have the meanings
         given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                  2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory or'
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                   3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
           in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
           Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
           Agreement.

                   4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note, shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                   5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
          any departure by the Company herefrom, shall in any event be effective unless the same shall be in
          writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
          effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
         application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                  8.      Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                   IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
           written above.


                                                          FELIX PAYMENT SYSTEMS LTD.


                                                         By:
                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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                                            EXHIBIT B-4




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $200,000.00                                                                              February 21, 2021


                   Felix Payment Systems Ltd., a British Columbia corporation (the “Company”), hereby promises
          to pay to the order of Robert Alpert (the “Investor”), the principal sum of Two Hundred Thousand
          Dollars ($200,000.00), on or after the date hereof, together with interest thereon calculated from February
          19, 2021 in accordance with the provisions of this Convertible Promissory Note (this “Note”). This Note
          is issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement”) and is also a “Note,” as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                        ' (c)        Application of Payment.        All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                  4.       Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
         application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                 8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                   IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
           written above.


                                                          FELIX PAYMENT SYSTEMS LTD.


                                                          By.    Ow-QJt'
                                                          Name: Owen Newport
                                                          Title: Chief Executive Officer




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                                             EXHIBIT B-5




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         THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
         BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
         UNDER THE SECURITIES LAWS OF CERTAIN STATES, THESE SECURITIES MAY NOT BE
         OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT AS
         PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT TO
         AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE ISSUER
         OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
         SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
         HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
         SECURITIES LAWS.


                                         CONVERTIBLE PROMISSORY NOTE

        $150,000.00                                                                 Effective as of February 19, 2021

                 Felix Payment Systems Ltd., a British Columbia corporation (the “Company'), hereby promises to
        pay to the order of Robert Alpert (the “Investor"), the principal sum of One Hundred and Fifty Thousand
        Dollars ($150,000.00), on or after the date hereof, together with interest thereon calculated from February
        19, 2021 in accordance with the provisions of this Convertible Promissory Note (this “Note"). This Note
        is issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
        amended, restated, modified or supplemented), by and among the Company and the Investor (the
        “Purchase Agreement') and is also a “Note," as defined therein. Tenns not defined herein shall have the
        meanings given them in the Purchase Agreement.

                 The following is a statement of the rights of the Investor and the conditions to which this Note is
        subject, and to which the Investor, by the acceptance of this Note, agrees:

                 1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b) the
        payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
        outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per annum,
        computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable as set
        forth herein.

                2. Payments.

                          (a)      Mandatory Repayments. Unless this Note is previously converted in accordance
        with Section 4, the entire outstanding principal amount of this Note, together with all accrued and unpaid
        interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of the Company;
        and (iii) an Event of Default in which the Notes have been accelerated by the Investor or automatically
        accelerated in accordance with the provisions of the Purchase Agreement.

                         (b)      No Optional Prepayments. The Company may not prepay this Note without the
        prior written consent of the Investor.

                            (c)     Application of Payment. All partial payments (whether mandatory or otherwise)
        shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection or
        enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note, and
        (iii) third, to the principal amount of the Note.

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                 3.      Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth in
         Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
         Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
         Agreement.

                 4.       Conversion.

                         (a)     Optional Conversion upon Equity Financing. In the event the Company
         consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and accrued
         and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors (as defined
         in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity Financing in
         accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)    Optional Conversion prior to Maturity Date. If not sooner repaid or converted
         in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding principal
         amount and accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite
         Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b) of the
         Purchase Agreement.

                          (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
         Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
         Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
         the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
         the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
         of Section 1.6(c) of the Purchase Agreement.

                5.        Amendments. No amendment or waiver of any provision of this Note, nor consent to any
        departure by the Company herefrom, shall in any event be effective unless the same shall be in writing in
        conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be effective only in
        the specific instance and for the specific purpose for which given.

                 6.       Severability. If any term, covenant or provision contained in this Note, or the application
        thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or unenforceable to
        any extent or shall otherwise operate to invalidate this Note, in whole or part, then such term, covenant or
        provision only shall be deemed not contained in this Note; the remainder of this Note shall remain operative
        and in full force and effect and shall be enforced to the greatest extent permitted bylaw as if such clause or
        provision had never been contained herein or therein; and the application of such term, covenant or
        provision to other Persons or circumstances shall not be affected, impaired or restricted thereby.

                 7.      Captions. The captions or headings at the beginning of any section or portion of any
        section in this Note are for the convenience of the Company and the Investor and for purpose of reference
        only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
        state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to the
        contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
        (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
        or any such other document require the payment or permit the collection or receipt of interest in excess of
        the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
        document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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         highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
         validity.

                  9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights and
         obligations of the parties hereto shall be governed, construed and interpreted in accordance with the laws
         of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                 10.      Notices. Any notice, request or other communication required or permitted hereunder shall
         be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                  11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
         of and be binding upon the respective successors and assigns of the Investor and the Company, provided
         that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
         consent of the other party.

                                                  [Signature Page Follows]




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                 IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
         written above.


                                                           FELIX PAYMENT SYSTEMS LTD.
                                                                                                s—DocuSigned by:


                                                           Bv:
                                                            J ----------- —-------------------------- '-------- BJ WBLBUHBUAJUZ.
                                                           Name: Owen Newport
                                                           Title: Chief Executive Officer




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                                                                                                                            DocuSign
 Certificate Of Completion
 Envelope Id: 9DA01BE273234958902E96CF44DE24A4                                                Status: Completed
 Subject: FPS - Alpert February Convertible Promissory Note ($150k)
 Source Envelope:
 Document Pages: 4                                 Signatures: 1                              Envelope Originator:
 Certificate Pages: 4                              Initials: 0                                Brian Darer
 AutoNav: Enabled                                                                             620 South Tryon Street
 Envelopeld Stamping: Disabled                                                                Suite 800
 Time Zone: (UTC-05:00) Eastern Time (US & Canada)                                            Charlotte, NC 28202
                                                                                              briandarer@parkerpoe.com
                                                                                              IP Address: 97.65.133.250


 Record Tracking
 Status: Original                                  Holder: Brian Darer                        Location: DocuSign
         11/22/2022 2:45:42 PM                               briandarer@parkerpoe.com

Signer Events                                      Signature                                  Timestamp
                                                   x—OocuSljned by:                           Sent: 11/22/2022 2:47:59 PM
 owen newport
                                                   1        tawfoti                           Viewed: 11/26/2022 10:50:45 AM
owen. newport@payfelix.com
CEO                                                                                           Signed: 11/26/2022 10:50:53 AM
Felix Payment Systems LTD
                                                   Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
                                                   Using IP Address: 50.68.248.57
(None)
                                                   Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 11/26/2022 10:50:45 AM
   ID: 6bc9b72c-3273-43a7-87a2-2e866fdda041


in Person Signer Events                            Signature                                  Timestamp

Editor Delivery Events                             Status                                     Timestamp

Agent Delivery Events                              Status                                     Timestamp

Intermediary Delivery Events                      Status                                    ~ Timestamp                        ____

Certified Delivery Events                         Status                                      Timestamp

Carbon Copy Events                                Status                                      Timestamp

Witness Events                                    Signature                                   Timestamp

Notary Events                                     Signature                                  Tim estamp

Envelope Summary Events                           Status                                     Timestamps
Envelope Sent                                     Hashed/Encrypted                            11/22/2022 2:47:59 PM
Certified Delivered                               Security Checked                           11/26/2022 10:50:45 AM
Signing Complete                                  Security Checked                           11/26/2022 10:50:53 AM
Completed                                         Security Checked                            11/26/2022 10:50:53 AM


Payment Events                                    Status                                     Timestamps                ____

Electronic Record and Signature Disclosure



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Electronic Record and Signature Disclosure created on: 3/31/2017 6:45:35 PM
Parties agreed to: owen newport




            ELECTRONIC RECORD AND SIGNATURE DISCLOSURE
           From time to time, Parker Poe Adams & Bernstein LLP (we, us or Company) may be required by
           law to provide to you certain written notices or disclosures. Described below are the terms and
           conditions for providing to you such notices and disclosures electronically through your
           DocuSign, Inc. (DocuSign) Express user account. Please read the information below carefully
           and thoroughly, and if you can access this information electronically to your satisfaction and
           agree to these terms and conditions, please confirm your agreement by clicking the 'I agree'
           button at the bottom of this document.
           Getting paper copies
           At any time, you may request from us a paper copy of any record provided or made available
           electronically to you by us. For such copies, as long as you are an authorized user of the
           DocuSign system you will have the ability to download and print any documents we send to you
           through your DocuSign user account for a limited period of time (usually 30 days) after such
           documents are first sent to you. After such time, if you wish for us to send you paper copies of
           any such documents from our office to you, you will be charged a $0.00 per-page fee. You may
           request delivery of such paper copies from us by following the procedure described below.
           Withdrawing your consent
           If you decide to receive notices and disclosures from us electronically, you may at any time
           change your mind and tell us that thereafter you want to receive required notices and disclosures
           only in paper format. How you must inform us of your decision to receive future notices and
           disclosure in paper format and withdraw your consent to receive notices and disclosures
           electronically is described below.
           Consequences of changing your mind
          If you elect to receive required notices and disclosures only in paper format, it will slow the
          speed at which we can complete certain steps in transactions with you and delivering services to
          you because we will need first to send the required notices or disclosures to you in paper format,
          and then wait until we receive back from you your acknowledgment of your receipt of such
          paper notices or disclosures. To indicate to us that you are changing your mind, you must
          withdraw your consent using the DocuSign Withdraw Consent' form on the signing page of your
          DocuSign account. This will indicate to us that you have withdrawn your consent to receive
          required notices and disclosures electronically from us and you will no longer be able to use your
          DocuSign Express user account to receive required notices and consents electronically from us
          or to sign electronically documents from us.
          AU notices and disclosures will be sent to you electronically
          Unless you tell us otherwise in accordance with the procedures described herein, we will provide
          electronically to you through your DocuSign user account all required notices, disclosures,
          authorizations, acknowledgements, and other documents that are required to be provided or
          made available to you during the course of our relationship with you. To reduce the chance of
          you inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
          notices and disclosures to you by the same method and to the same address that you have given
          us. Thus, you can receive all the disclosures and notices electronically or in paper format through
          the paper mail delivery system. If you do not agree with this process, please let us know as
          described below. Please also see the paragraph immediately above that describes the
          consequences of your electing not to receive delivery of the notices and disclosures
          electronically from us.

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          How to contact Parker Poe Adams & Bernstein LLP:
         You may contact us to let us know of your changes as to how we may contact you electronically,
         to request paper copies of certain information from us, and to withdraw your prior consent to
         receive notices and disclosures electronically as follows:
          To contact us by email send messages to: skiplohmeyer@parkerpoe.com

         To advise Parker Poe Adams & Bernstein LLP of your new e-mail address
         To let us know of a change in your e-mail address where we should send notices and disclosures
         electronically to you, you must send an email message to us at skiplohmeyer@parkerpoe.com
         and in the body of such request you must state: your previous e-mail address, your new e-mail
         address. We do not require any other information from you to change your email address..
         In addition, you must notify DocuSign, Inc to arrange for your new email address to be reflected
         in your DocuSign account by following the process for changing e-mail in DocuSign.
         To request paper copies from Parker Poe Adams & Bernstein LLP
         To request delivery from us of paper copies of the notices and disclosures previously provided
         by us to you electronically, you must send us an e-mail to skiplohmeyer@parkerpoe.com and in
         the body of such request you must state your e-mail address, full name, US Postal address, and
         telephone number. We will bill you for any fees at that time, if any.
         To withdraw your consent with Parker Poe Adams & Bernstein LLP
         To inform us that you no longer want to receive future notices and disclosures in electronic
         format you may:
               i. decline to sign a document from within your DocuSign account, and on the subsequent
               page, select the check-box indicating you wish to withdraw your consent, or you may;
               ii. send us an e-mail to skiplohmeyer@parkerpoe.com and in the body of such request you
               must state your e-mail, full name, IS Postal Address, telephone number, and account
               number. We do not need any other information from you to withdraw consent.. The
               consequences of your withdrawing consent for online documents will be that transactions
               may take a longer time to process..

        Required hardware and software
        (Operating Systems:                                    Windows2000? or WindowsXP?
         Browsers (for SENDERS):                               Internet Explorer 6.0? or above
         Browsers (for SIGNERS):                               Internet Explorer 6.0?, Mozilla FireFox 1.0,
                                                               NetScape 7.2 (or above)
        Email:                                                 Access to a valid email account
        Screen Resolution:                                     800 x 600 minimum
        Enabled Security Settings:
                                                               •Allow per session cookies

                                                       •Users accessing the internet behind a Proxy
                                                           Server must enable HTTP 1.1 settings via
        __________________________________________         proxy connection
           ** These minimum requirements are subject to change. If these requirements change, we will
           provide you with an email message at the email address we have on file for you at that time
           providing you with the revised hardware and software requirements, at which time you will
           have the right to withdraw your consent.

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              Acknowledging your access and consent to receive materials electronically
             To confirm to us that you can access this information electronically, which will be similar to
             other electronic notices and disclosures that we will provide to you, please verify that you
             were able to read this electronic disclosure and that you also were able to print on paper or
             electronically save this page for your future reference and access or that you were able to
             e-mail this disclosure and consent to an address where you will be able to print on paper or
             save it for your future reference and access. Further, if you consent to receiving notices and
             disclosures exclusively in electronic format on the terms and conditions described above,
             please let us know by clicking the 'I agree' button below.
             By checking the 'I Agree' box, I confirm that:

                •   I can access and read this Electronic CONSENT TO ELECTRONIC RECEIPT OF
                    ELECTRONIC RECORD AND SIGNATURE DISCLOSURES document; and

                •   I can print on paper the disclosure or save or send the disclosure to a place where I can
                    print it, for future reference and access; and

                *   Until or unless I notify Parker Poe Adams & Bernstein LLP as described above, I
                    consent to receive from exclusively through electronic means all notices, disclosures,
                    authorizations, acknowledgements, and other documents that are required to be
                    provided or made available to me by Parker Poe Adams & Bernstein LLP during the
                    course of my relationship with you.




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $112,250.00                                                                                    June 8,2022


                   Felix Payment Systems Ltd., a British Columbia corporation (the “Company"), hereby promises
          to pay to the order of Robert Alpert (the “Investor”), the principal sum of One Hundred and Twelve
          Thousand Two Hundred and Fifty Dollars ($112,250.00), on or after the date hereof, together with
          interest thereon calculated from the date hereof in accordance with the provisions of this Convertible
          Promissory Note (this “Note"). This Note is issued pursuant to a certain Convertible Note Purchase
          Agreement, dated as of February 21, 2021 (as amended, restated, modified or supplemented), by and
          among the Company and the Investor (the “Purchase Agreement") and is also a “Note," as defined
          therein. Terms not defined herein shall have the meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.' All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                  4.       Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, die outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option ofthe
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                   6.     Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                  8.      Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                          FELIX PAYMENT SYSTEMS LTD.
                                                                              z—' DocuSlgned by:




                                                              ■---------- —--------- *------ »12BLBOMUW«...
                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $150,000.00                                                                              February 21, 2021


                   Felix Payment Systems Ltd., a British Columbia corporation (the “Company”), hereby promises
          to pay to the order of Roman Alpert Trust (the “Investor”), the principal sum of One Hundred Fifty
          Thousand Dollars ($150,000.00), on or after the date hereof, together with interest thereon calculated
          from February 12, 2021 in accordance with the provisions of this Convertible Promissoiy Note (this
          “Note”). This Note is issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the
          date hereof (as amended, restated, modified or supplemented), by and among the Company and the
          Investor (the “Purchase Agreement”) and is also a “Note,” as defined therein. Terms not defined herein
          shall have the meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                   1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
          the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
          outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
          annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
          as set forth herein.

                  2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                   3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
           in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
           Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
           Agreement.

                   4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                   5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
          any departure by the Company herefrom, shall in any event be effective unless the same shall be in
          writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
          effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                 8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows}




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                         FELIX PAYMENT SYSTEMS LTD.



                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACTS, OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.      '

                                          CONVERTIBLE PROMISSORY NOTE


          $ 150,000.00                                                                             February 21, 2021


                   Felix Payment Systems Ltd., a British Columbia corporation (the “Company'S, hereby promises
          to pay to the order of Don Sanders (the “Investor”), the principal sum of One Hundred Fifty Thousand
          Dollars ($150,000.00), on or after the date hereof, together with interest thereon calculated from February
           17, 2021 in accordance with the provisions of this Convertible Promissory Note (this “Note”). This Note
          is issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreements and is also a “Note," as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.' All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                  4.       Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                 8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows}




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                         FELIX PAYMENT SYSTEMS LTD.



                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $150,000.00                                                                              February 21,2021


                  Felix Payment Systems Ltd., a British Columbia corporation, hereby promises to pay to the order
          of Andy Cracchiolo (the “Investor"), the principal sum of One Hundred Fifty Thousand Dollars
          ($150,000.00), on or after the date hereof, together with interest thereon calculated from February 21,
          2021 in accordance with the provisions of this Convertible Promissory Note (this “Note"). This Note is
          issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement") and is also a “Note," as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                   1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
          the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
          outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
          annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
          as set forth herein.

                 2.   Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                        ' (c)        Application of Payment.        All partial payments (whether' mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                  4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.        .

                          (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
         Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
         Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
         the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
         the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
         of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective rmless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
        state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
        the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
        (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
        or any such other document require the payment or permit the collection or receipt of interest in excess of
        the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
        document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                          FELIX PAYMENT SYSTEMS LTD.


                                                          By:
                                                          Name: Owen Newport
                                                          Title: Chief Executive Officer




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $25,000.00                                                                               February 21, 2021


                   Felix Payment Systems Ltd., a British Columbia corporation (the "Company"'}, hereby promises
          to pay to the order of Elk Camp Ventures, LLC (the “Investor"), the principal sum of Twenty-Five
          Thousand Dollars ($25,000.00), on or after the date hereof, together with interest thereon calculated from
          the date hereof in accordance with the provisions of this Convertible Promissory Note (this “Note"). This
          Note is issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement") and is also a “Note," as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                  3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
          in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
          Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
          Agreement.

                  4.       Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity' Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and impaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                          (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
         Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
         Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
         the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
         the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
         of Section 1.6(c) of the Purchase Agreement.

                  5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
         any departure by the Company herefrom, shall in any event be effective unless the same shall be in
         writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
         effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
         application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                 8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the



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          highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
          validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                        FELIX PAYMENT SYSTEMS LTD.


                                                        Bv:
                                                        Name: Owen Newport
                                                        Title: Chief Executive Officer




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT"), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $50,000.00                                                                               February 21,2021


                  Felix Payment Systems Ltd., a British Columbia corporation (the “Company”), hereby promises
          to pay to the order of Hyperion Investments, LLC (the “Investor”), the principal sum of Fifty Thousand
          Dollars ($50,000.00), on or after the date hereof, together with interest thereon calculated from the date
          hereof in accordance with the provisions of this Convertible Promissory Note (this “Note”). This Note is
          issued pursuant to a certain Convertible Note Purchase Agreement, dated as of the date hereof (as
          amended, restated, modified or supplemented), by and among the Company and the Investor (the
          “Purchase Agreement”) and is also a “Note,” as defined therein. Terms not defined herein shall have the
          meanings given them in the Purchase Agreement.

                   The following is a statement of the rights of the Investor and the conditions to which this Note is
          subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                  2.   Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                          (b)      No Optional Prepayments. The Company may not prepay this Note without the
         prior written consent of the Investor.

                            (c)      Application of Payment.        All partial payments (whether mandatory' or
         otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
         or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
         and (iii) third, to the principal amount of the Note.



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                   3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
           in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
           Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
           Agreement.

                   4.      Conversion.

                           (a)    Optional Conversion upon Equity Financing. In the event the Company
          consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
          accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
          (as defined in die Purchase Agreement), into the Equity Securities of the Company issued in the Equity
          Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                          (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
          converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
          principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
          Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
          of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                   5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
          any departure by the Company herefrom, shall in any event be effective unless the same shall be in
          writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
          effective only in the specific instance and for the specific purpose for which given.

                  6.      Severability. If any term, covenant or provision contained in this Note, or the
         application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
         unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
         term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
         shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
         law as if such clause or provision had never been contained herein or therein; and the application of such
         term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
         thereby.

                  7.      Captions. The captions or headings at the beginning of any section or portion of any
         section in this Note are for the convenience of the Company and the Investor and for purpose of reference
         only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                  8.      Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
         state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
         the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
         (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
         or any such other document require the payment or permit the collection or receipt of interest in excess of
         the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
         document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the


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           highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
           validity.

                    9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
           and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
           laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                    10.      Notices. Any notice, request or other communication required or permitted hereunder
           shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party.

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                          FELIX PAYMENT SYSTEMS LTD.


                                                         By:
                                                         Name: Owen Newport
                                                         Title: Chief Executive Officer




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                                           EXHIBIT B-12




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         THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
         BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT’), OR
         UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
         OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
         AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
         TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
         ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
         SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
         HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
         SECURITIES LAWS.

                                         CONVERTIBLE PROMISSORY NOTE


         $ 100,000.00                                                                            February 25, 2021


                 Felix Payment Systems Ltd., a British Columbia corporation (the “Company”), hereby promises
        to pay to the order of The R. David Hoover Revocable Trust dated January 30, 1997 as amended and
        restated September 14, 2012 (the “Investor”), the principal sum of One Hundred Thousand Dollars
        ($100,000.00), on or after the date hereof, together with interest thereon calculated from the date hereof in
        accordance with the provisions of this Convertible Promissory Note (this “Note’'). This Note is issued
        pursuant to a certain Convertible Note Purchase Agreement, dated as of February 21, 2021 (as amended,
        restated, modified or supplemented), by and among the Company and the Investor (the “Purchase
        Agreement”) and is also a “Note,” as defined therein. Terms not defined herein shall have the meanings
        given them in the Purchase Agreement.

                 The following is a statement of the rights of the Investor and the conditions to which this Note is
        subject, and to which the Investor, by the acceptance of this Note, agrees:

                 1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
        the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
        outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
        annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
        as set forth herein.

                2. Payments.

                        (a)      Mandatory Repayments.          Unless this Note is previously converted in
        accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
        and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
        the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
        automatically accelerated in accordance with the provisions of the Purchase Agreement.

                         (b)      No Optional Prepayments. The Company may not prepay this Note without the
        prior written consent of the Investor.

                           (c)      Application of Payment.        All partial payments (whether mandatory or
        otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
        or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
        and (iii) third, to the principal amount of the Note.

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                 3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
         in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
         Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
         Agreement.

                 4.       Conversion.

                          (a)    Optional Conversion upon Equity Financing. In the event the Company
         consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
         accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
         (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
         Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                        (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
        converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
        principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
        Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
        of the Purchase Agreement.

                         (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
        Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
        Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
        the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
        the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
        of Section 1.6(c) of the Purchase Agreement.

                 5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
        any departure by the Company herefrom, shall in any event be effective unless the same shall be in
        writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
        effective only in the specific instance and for the specific purpose for which given.

                 6.      Severability. If any term, covenant or provision contained in this Note, or the
        application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
        unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
        term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
        shall remain operative and in full force and effect and shall be enforced to the greatest extent permitted by
        law as if such clause or provision had never been contained herein or therein; and the application of such
        term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
        thereby.

               7.       Captions. The captions or headings at the beginning of any section or portion of any
       section in this Note are for the convenience of the Company and the Investor and for purpose of reference
       only and shall not limit or otherwise alter the meaning of the provisions of this Note.

               8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
       state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
       the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
       (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
       or any such other document require the payment or permit the collection or receipt of interest in excess of
       the highest lawful rate. If under any circumstance whatsoever, any provision of this Note or of any other
       document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the

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      highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
      validity.

               9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
      and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
      laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

               10.      Notices. Any notice, request or other communication required or permitted hereunder
      shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement.

               11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
      of and be binding upon the respective successors and assigns of the Investor and the Company, provided
      that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
      consent of the other party.

                                               [Signature Page Follows]




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                 IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
         written above.


                                                       FELIX PAYMENT SYSTEMS LTD.


                                                       By.
                                                       Name: Owen Newport
                                                       Title: Chief Executive Officer




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                                           EXHIBIT B-13




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          THIS NOTE AND THE SECURITIES ISSUABLE UPON THE CONVERSION HEREOF HAVE NOT
          BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “ACT’), OR
          UNDER THE SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES MAY NOT BE
          OFFERED, SOLD OR OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
          AS PERMITTED UNDER THE ACT AND APPLICABLE STATE SECURITIES LAWS PURSUANT
          TO AN EFFECTIVE REGISTRATION STATEMENT OR AN EXEMPTION THEREFROM. THE
          ISSUER OF THESE SECURITIES MAY REQUIRE AN OPINION OF COUNSEL REASONABLY
          SATISFACTORY TO THE ISSUER THAT SUCH OFFER, SALE OR TRANSFER, PLEDGE OR
          HYPOTHECATION OTHERWISE COMPLIES WITH THE ACT AND ANY APPLICABLE STATE
          SECURITIES LAWS.

                                          CONVERTIBLE PROMISSORY NOTE


          $50,000.00                                                                               February 25, 2021


                  Felix Payment Systems Ltd., a British Columbia corporation (the “Company"), hereby promises
         to pay to the order of The James W. Taylor Revocable Living Trust Dated September 25, 2001 (the
         “Investor”), the principal sum of Fifty Thousand Dollars ($50,000.00), on or after the date hereof,
         together with interest thereon calculated from the date hereof in accordance with the provisions of this
         Convertible Promissory Note (this “Note”). This Note is issued pursuant to a certain Convertible Note
         Purchase Agreement, dated as of February 21, 2021 (as amended, restated, modified or supplemented), by
         and among the Company and the Investor (the “Purchase Agreement') and is also a “Note” as defined
         therein. Terms not defined herein shall have the meanings given them in the Purchase Agreement.

                  The following is a statement of the rights of the Investor and the conditions to which this Note is
         subject, and to which the Investor, by the acceptance of this Note, agrees:

                  1. Interest. Until the earlier of (a) conversion of this Note in accordance with Section 4 or (b)
         the payment in full of the outstanding obligations under this Note, interest shall accrue on the unpaid,
         outstanding principal amount of this Note from the date hereof at a rate equal to six percent (6%) per
         annum, computed on the basis of a 365-day year. Accrued interest on this Note shall be due and payable
         as set forth herein.

                 2. Payments.

                         (a)      Mandatory Repayments.          Unless this Note is previously converted in
         accordance with Section 4, the entire outstanding principal amount of this Note, together with all accrued
         and unpaid interest thereon, shall be due and payable on the earlier of (i) the Maturity Date; (ii) a Sale of
         the Company; and (iii) an Event of Default in which the Notes have been accelerated by the Investor or
         automatically accelerated in accordance with the provisions of the Purchase Agreement.

                         (b)      No Optional Prepayments. The Company may not prepay this Note without the
        prior written consent of the Investor.

                           (c)     ' Application of Payment.       All partial payments (whether mandatory or
        otherwise) shall be paid and applied (i) first, to the reimbursement of any expenses or costs of collection
        or enforcement to which the Investor is entitled, (ii) second, to accrued and unpaid interest of the Note,
        and (iii) third, to the principal amount of the Note.




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                   3.       Events of Default; Remedies. Upon the occurrence of an Event of Default as set forth
           in Section 6 of the Purchase Agreement, the Investor shall be entitled to the remedies provided for in the
           Purchase Agreement, including, without limitation, those provided under Section 6.2 of the Purchase
           Agreement.

                    4.      Conversion.

                            (a)    Optional Conversion upon Equity Financing. In the event the Company
           consummates an Equity Financing prior to the Maturity Date, the outstanding principal amount and
           accrued and unpaid interest under this Note shall be convertible, at the option of the Requisite Investors
           (as defined in the Purchase Agreement), into the Equity Securities of the Company issued in the Equity
           Financing in accordance with the terms of Section 1.6(a) of the Purchase Agreement.

                           (b)      Optional Conversion prior to Maturity Date. If not sooner repaid or
           converted in a Qualified Equity Financing or Other Financing, prior to the Maturity Date, the outstanding
           principal amount and accrued and unpaid interest under this Note shall be convertible, at the option of the
           Requisite Investors, into Equity Securities of the Company in accordance with the terms of Section 1.6(b)
           of the Purchase Agreement.

                           (c)      Optional Conversion upon the Occurrence of a Sale of the Company.
          Notwithstanding any provision of this Note or the Purchase Agreement to the contrary, in the event of a
          Sale of the Company prior to the conversion or repayment in full of this Note, in lieu of the Sale Payment,
          the outstanding principal amount and accrued and unpaid interest under this Note shall be convertible, at
          the option of the Requisite Investors, into Equity Securities of the Company in accordance with the terms
          of Section 1.6(c) of the Purchase Agreement.

                   5.      Amendments. No amendment or waiver of any provision of this Note, nor consent to
          any departure by the Company herefrom, shall in any event be effective unless the same shall be in
          writing in conformity with Section 9.8 of the Purchase Agreement. Such waiver or consent shall be
          effective only in the specific instance and for the specific purpose for which given.

                   6.      Severability. If any term, covenant or provision contained in this Note, or the
          application thereof to any Person or circumstance, shall be determined to be void, invalid, illegal or
          unenforceable to any extent or shall otherwise operate to invalidate this Note, in whole or part, then such
          term, covenant or provision only shall be deemed not contained in this Note; the remainder of this Note
          shall remain operative and in foil force and effect and shall be enforced to the greatest extent permitted by
          law as if such clause or provision had never been contained herein or therein; and the application of such
          term, covenant or provision to other Persons or circumstances shall not be affected, impaired or restricted
          thereby.

                   7.      Captions. The captions or headings at the beginning of any section or portion of any
          section in this Note are for the convenience of the Company and the Investor and for purpose of reference
          only and shall not limit or otherwise alter the meaning of the provisions of this Note.

                  8.       Usury Savings Clause. It is the intention of the parties hereto to comply with applicable
          state and federal usury laws from time to time in effect. Accordingly, notwithstanding any provision to
          the contrary in this Note or the Purchase Agreement or any other document related hereto, in no event
          (including, but not limited to, prepayment or acceleration of the maturity of any obligation) will this Note
          or any such other document require the payment or permit the collection or receipt of interest in excess of
          the highest lawfill rate. If under any circumstance whatsoever, any provision of this Note or of any other
          document pertaining hereto will provide for the payment, collection or receipt of interest in excess of the



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           highest lawful rate, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit of such
           validity.

                   9.      Governing Law. This Note and all acts and transactions pursuant hereto and the rights
          and obligations of the parties hereto shall be governed, construed and interpreted in accordance with the
          laws of the State of Ohio, without giving effect to principles of conflicts of law thereof.

                   10.      Notices. Any notice, request or other communication required or permitted hereunder
          shall be in writing and given in accordance with Section 9.1 of the Purchase Agreement,

                   11.     Successors and Assigns. The terms and conditions of this Note shall inure to the benefit
          of and be binding upon the respective successors and assigns of the Investor and the Company, provided
          that the Investor shall not be entitled to assign its rights or obligations hereunder without the prior written
          consent of the other party

                                                   [Signature Page Follows]




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                  IN WITNESS WHEREOF, the Company has caused this Note to be issued as of the date first
          written above.


                                                        FELIX PAYMENT SYSTEMS LTD.


                                                        gy.
                                                        Name: Owen Newport
                                                        Title: Chief Executive Officer




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                                                                                                                EXHIBIT 3
                                                         CENTRAL SECURITIES REGISTER

                                                          FELIX PAYMENT SYSTEMS LTD.

                                                           Common Shares without par value

  Date Share       Date Share     Full Name and Address     Number           Acquired by     If Transterred,     Cert.          Consideration Paid to Company
  Certificate       Certiticate       of Shareholder        of Shares         Allotment,      from whom           No.
                                                                                                                                                                                             Case 25-00053-5-PWM




   Issued           Cancelled                                                Conversion,                                    Cash             Paid Per Share
                                                                             Transfer (or)                                   or
                                                                                                                            Other     Cash       Other Than Cash
                                                                                                                                                    Particulars
                                                                                                                                                  [Cancel details]
Mar 11, 2020      Mar 11, 2020    Robert A. Goodrich                    1   Incorporation                      Not Issued   Cash    $1.00       [1 Repurchase by
                                  20th Floor, 250 Howe                      starting                                                            Company]
                                  Street, Vancouver                         balance
                                  British Columbia V6C                      (1)
                                  3R8
                                  Canada
                                                                                                                                                                                      136




Mar 11, 2020                      Kim Fleury Bertrand           90,000      Allotment                             1C        Cash    $0.000
                                  6894 Copper Cove                          (90,000)                                                1
                                  Road, Vancouver
                                  BC V7W2K5
                                  Canada

Mar 11, 2020                      Cryptonomicom PTY             30,000      Allotment                             2C        Cash    $0000
                                  Ltd.                                      (30,000)                                                1



Mar 11, 2020                      Jay Donovan                   90,000      Allotment                             3C        Cash    $0000
                                                                            (90,000)                                                1
                                                                                                                                                                      Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




Mar 11, 2020                      Oliver Ransford               90,000      Allotment                             4C        Cash    $0000
                                                                            (90,000)                                                1
                                                                                                                                                                                             Page 127 of




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                                                      FELIX PAYMENT SYSTEMS LTD.

                                                       Common Shares without par value

 Date Share     Date Share    Full Name and Address      Number       Acquired by     If Transferred,   Cert.       Consideration Paid to Company
 Certificate    Certificate        of Shareholder       of Shares      Allotment,       from whom       No.
   Issued       Cancelled                                             Conversion,                               Cash             Paid Per Share
                                                                      Transfer (or)                              or
                                                                                                                                                                                Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     [Cancel details]
Mar 11, 2020                  Rankin Tech PTY Ltd.          90,000   Allotment                           5C     Cash    $0000
                                                                     (90,000)                                           1


Mar 11, 2020                  Noah Fitzgerald               25,000   Allotment                           6C     Cash    $0.000
                              Unit 605, 405 North                    (25,000)                                           1
                              Ocean Drive, Pompano
                              Beach
                              Florida 33062
                                                                                                                                                                         136




                              USA

Mar 11, 2020                  Transaction Data USA          25,000   Allotment                           7C     Cash    $0000
                              Inc.                                   (25,000)                                           1



Mar 11, 2020   Dec 10, 2020   Gentek Resourcing Pty       510,000    Allotment                          8C      Cash    $0000       [267,500 Transfer
                              Ltd.                                   (510 000)                                          1           to Owen Newport
                                                                                                                                    (SC#35C)]
                                                                                                                                    [242,500 Transfer
                                                                                                                                    to Warren Hogg
                                                                                                                                    (SC#36C)]
                                                                                                                                                         Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




Mar 11, 2020   Dec 10, 2020   Gentek Investment             20,000   Allotment                           9C     Cash    $0.000      [20,000 Transfer
                              PlY Ltd.                               (20,000)                                           1           to Owen Newport
                                                                                                                                    (SC#39C)]
                                                                                                                                                                                Page 128 of




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                                                                                                                                      Page 2
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                                                     FELIX PAYMENT SYSTEMS LTD.

                                                      Common Shares without par value

 Date Share    Date Share    Full Name and Address      Number       Acquired by     It Transferred,   Cert.       Consideration Paid to Company
 Certificate   Certificate        of Shareholder       of Shares      Allotment,       from whom       No.
   Issued      Cancelled                                             Conversion,                               Cash             Paid Per Share
                                                                     Transfer (or)                              or
                                                                                                                                                                              Case 25-00053-5-PWM




                                                                                                               Other     Cash       Other Than Cash
                                                                                                                                       Particulars
                                                                                                                                    tCancel detailsj
Mar 11, 2020                 Steve Sayers                  20,000   Allotment                          1OC     Cash    $0000
                                                                    (20,000)


Mar 12, 2020                 Kim Fleury Bertrand           20,000   Allotment                          11C     Cash
                             6894 Copper Cove                       (20000)
                             Road, Vancouver
                             BC V7W2K5
                             Canada
                                                                                                                                                                       136




Mar 12, 2020                 Cryptonomicom PTY             30,000   Allotment                          12C     Cash
                             Ltd.                                   (30,000)



Mar 12, 2020                 Jay Donovan                 100,000    Allotment                          13C     Cash
                                                                    (100,000)


Mar 12, 2020                 Oliver Ransford              100,000   Allotment                          14C     Cash
                                                                    (100,000)
                                                                                                                                                       Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




Mar 12, 2020                 Rankin Tech PlY Ltd.         100,000   Allotment                          15C     Cash
                                                                    (100,000)


Mar 12, 2020                 Noah Fitzgerald               25,000   Allotment                          16C     Cash
                                                                                                                                                                              Page 129 of




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                                                      FELIX PAYMENT SYSTEMS LTD.

                                                       Common Shares without par value
 Date Share     Date Share    Full Name and Address      Number       Acquired by     If Transferred,   Cert.       Consideration Paid to Company
 Certificate    Certificate        of Shareholder       of Shares      Allotment,        from whom      No.
   Issued       Cancelled                                             Conversion,                               Cash             Paid Per Share
                                                                      Transfer (or)                              or
                                                                                                                                                                                Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     tCancel detailsJ
                              Unit 605, 405 North                    (25,000)
                              Ocean Drive, Pompano
                              Beach
                              Florida 33062
                              USA

Mar 12, 2020                  Transaction Data USA          25,000   Allotment                          17C     Cash
                              Inc.                                   (25,000)
                                                                                                                                                                         136




Mar 12, 2020   Dec 10, 2020   Gentek Resourcing Pty        560,000   Allotment                          18C     Cash                [25,000 Transfer
                              Ltd.                                   (560,000)                                                      to Warren Hogg
                                                                                                                                    (SC#36C)]
                                                                                                                                    [267,500 Transfer
                                                                                                                                    to Kieran Moloney
                                                                                                                                    (SC#37C)]
                                                                                                                                    [267,500 Transfer
                                                                                                                                    to Sean Dennis
                                                                                                                                    (SC#38C)J


Mar 12, 2020   Dec 10, 2020   Gentek Investment             20,000   Allotment                          19C     Cash                [20,000 Transfer
                              PTY Ltd.                               (20,000)                                                       to Warren Hogg
                                                                                                                                                         Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




                                                                                                                                    (SC#40C)]



Mar 12, 2020                  Steve Sayers                  20,000   Allotment                          20C     Cash
                                                                     (20,000)
                                                                                                                                                                                Page 130 of




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                                                       FELIX PAYMENT SYSTEMS LTD.

                                                       Common Shares without par value

  Date Share     Date Share    Pull Name and Address     Number       Acquired by     If Transferred,   Cert.       Consideration Paid to Company
  Certificate    Certificate        of Shareholder      of Shares      Allotment,       from whom       No.
    Issued       Cancelled                                            Conversion,                               Cash             Paid Per Share
                                                                      Transfer (or)                              or
                                                                                                                                                                                 Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     [Cancel details]



Mar 25, 2020    Mar 25, 2020   Jake Boxer                  242,261   Allotment                          21C     Cash    $2.06       [242,261 Recalled
                                                                     (242,261)                                                      Issued in Error by
                                                                                                                                    Company]


Mar 25, 2020                   Kimberly M. Moore            17,304   Allotment                          22C     Cash    $4.33
                                                                     (17,304)
                                                                                                                                                                          136




Mar 25, 2020                   Cynthia M Sheppard &         11,536   Allotment                          23C     Cash    $4.33
                               John G Sheppard Jr                    (11,536)
                               Living Trust



Mar 25, 2020                   Mineral Royalties            46,145   Allotment                          24C     Cash    $2.16
                               Online Pty Ltd.                       (46,145)



Apr 2, 2020                    Doug Mordy                    4,854   Allotment                          25C     Cash    $2.06
                                                                                                                                                          Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




                                                                     (4,854)


Apr 2, 2020                    Jake Boxer                    7,281   Allotment                          26C     Cash    $2.06
                                                                     (7,281)
                                                                                                                                                                                 Page 131 of




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                                                      FELIX PAYMENT SYSTEMS LTD.
                                                       Common Shares without par value
  Date Share    Date Share    Full Name and Address      Number       Acquired by     If Transferred,   Cell.       Consideration Paid to Company
  Certificate   Certificate        of Shareholder       of Shares      Allotment,       from whom       No.
    Issued      Cancelled                                             Conversion,                               Cash             Paid Per Share
                                                                      Transfer (or)                              or
                                                                                                                                                                               Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     [Cancel detailsi



May 13, 2020                  Doug Mordy                    46,771   Allotment                          27C     Cash    $1.93
                                                                     (46,771)


May 13, 2020                  ]ake Boxer                    70,156   Allotment                          28C     Cash    $1.93
                                                                     (70,156)
                                                                                                                                                                        136




Jul 15, 2020                  Doug Mordy                    51,625   Allotment                          29C     Cash    $1.93
                                                                     (51,625)


Jul 15, 2020                  Jake Boxer                    77,437   Allotment                          30C     Cash    $1.93
                                                                     (77,437)


Dec 1, 2020                   Napil Nalalal                 14,535   Issuance                           31C     Cash    $3.44
                                                                     (14,535)


Dec 1, 2020                   Ralph Kurt McFee              14,535   Issuance                           32C     Cash    $3.44
                                                                                                                                                        Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




                                                                     (14,535)


Dec 1, 2020                   Brookridge Chartered          17,442   Issuance                           33C     Cash    $3.44
                              Professional                           (17,442)
                                                                                                                                                                               Page 132 of




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                                                     FELIX PAYMENT SYSTEMS LTD.

                                                     Common Shares without par value

 Date Share    Date Share    Pull Name and Address     Number       Acquired by       If Transferred,   Cert.       Consideration Paid to Company
 Certificate   Certificate        of Shareholder      of Shares      Allotment,          from whom      No.
   Issued      Cancelled                                            Conversion,                                 Cash             Paid Per Share
                                                                    Transfer (or)                                or
                                                                                                                                                                               Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     [Cancel details]
                             Accountants Inc.



Dec 1, 2020                  Jake Boxer                   69,768   Issuance                             34C     Cash    $3.44
                                                                   (69,768)


Dec 10, 2020                 Owen Newport                267,500   Transfer
                                                                                                                                                                        136




                                                                                    Gentek              35C     Cash
                                                                   (267,500)        Resourcing Pty
                                                                                    Ltd. (SC#8C)


Dec 10, 2020                 Warren Hogg                267,500    Transfer         Gentek              36C     Cash    $0.00
                                                                   (242,500)        Resourcing Pty              Cash
                                                                   Transfer         Ltd. (SC#8C)
                                                                   (25,000)         Gentek
                                                                                    Resourcing Pty
                                                                                    Ltd. (SC#18C)


Dec 10, 2020                 Kieran Moloney             267,500    Transfer         Gentek              37C     Cash
                                                                   (267,500)        Resourcing Pty
                                                                                                                                                        Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




                                                                                    Ltd. (SC#18C)


Dec 10, 2020                 Sean Dennis                267,500    Transfer         Gentek              38C     Cash
                                                                   (267,500)        Resourcing Pty
                                                                                                                                                                               Page 133 of




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                                                      FELIX PAYMENT SYSTEMS LTD.

                                                      Common Shares without par value

  Date Share    Date Share    pull Name and Address     Number       Acquired by      It Transferred,   Cert.       Consideration Paid to Company
  Certificate   Certificate        of Shareholder      of Shares      Allotment,        from whom       No.
    Issued      Cancelled                                            Conversion,                                Cash             Paid Per Share
                                                                     Transfer (or)                               or
                                                                                                                                                                                 Case 25-00053-5-PWM




                                                                                                                Other     Cash       Other Than Cash
                                                                                                                                        Particulars
                                                                                                                                     ICancel detailsj
                                                                                     Ltd. (SC#18C)


Dec 10, 2020                  Owen Newport                 20000    Transfer         Gentek             39C     Cash
                                                                    (20,000)         Investment PTY
                                                                                     Ltd. (SC#9C)


Dec 10, 2020
                                                                                                                                                                          136




                              Warren Hogg                  20,000   Transfer         Gentek             40C     Cash
                                                                    (20000)          Investment PTY
                                                                                     Ltd. (SC#19C)


May 31, 2021                  Jake Boxer                  101,744   Issuance                            41C     Cash    $3.44
                                                                    (101,744)


May 31, 2021                  Candice Mordy                65,406   Issuance                            42C     Cash    $3.44
                                                                    (65406)


Jul 13, 2021                  Jake Boxer                   52,326   Issuance                            43C     Cash    $3.44
                                                                    (52,326)
                                                                                                                                                          Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




Jul 23, 2021                  Candice Mordy                50,872   Issuance                            44C     Cash    $3.44
                                                                    (50,872)
                                                                                                                                                                                 Page 134 of




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                                                      PELIX PAYMENT SYSTEMS LTD.

                                                      Common Shares without par value

  Date Share    Date Share    Full Name and Address     Number       Acquired by     If Transferred,   Cert.       Consideration Paid to Company
  Certificate   Certificate        of Shareholder      of Shares      Allotment,       from whom       No.
    Issued      Cancelled                                            Conversion,                               Cash             Paid Per Share
                                                                     Transfer (or)                              or
                                                                                                                                                                                Case 25-00053-5-PWM




                                                                                                               Other     Cash       Other Than Cash
                                                                                                                                       Particulars
                                                                                                                                    tCancel details]
Mar 29, 2022                  ]ake Boxer                  194,396   Issuance                           45C     Cash    $3.44
                                                                    (194,396)


Mar 29, 2022                  Candice Mordy                57,893   Issuance                           46C     Cash    $3.44
                                                                    (57,893)


Mar 29, 2022                  Section 3 Ventures           58,140   Issuance
                                                                                                                                                                         136




                                                                                                       47C     Cash    $3.44
                              (VCC) Inc.                            (58,140)



Apr 2, 2023                   Andrew Cole                  75,504   Issuance                           48C     Cash    $0.01
                                   -
                              1305 1111 Richards                    (75,504)
                              St, Vancouver
                              BC V6B3E1
                              Canada

Apr 2, 2023                   Ross Smith                   75,504   Issuance                           49C     Cash    $0.01
                                   -
                              1801 1199 Seymour                     (75,504)
                              Street, Vancouver
                              BC V6B 1K3
                                                                                                                                                         Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01




                              Canada
                                                                                                                                                                                Page 135 of




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                                                        FELIX PAYMENT SYSTEMS LTD.

                                                        Common Shares without par value

Date Share        Date Share    Full Name and Address     Number     Acquired by     It Transferred,   Cert.       Consideration Paid to Company
Certificate       Certificate        of Shareholder      of Shares    Allotment,       from whom       No.
  Issued          Cancelled                                          Conversion,                               Cash             Paid Per Share
                                                                     Transfer (or)                              or
                                                                                                                                                                              Case 25-00053-5-PWM




                                                                                                               Other     Cash       Other Than Cash
                                                                                                                                       Particulars
                                                                                                                                    [Cancel details]
              Total issued:     3,171,174
                                                                                                                                                                       136
                                                                                                                                                       Doc 2 Filed 01/07/25 Entered 01/07/25 14:26:01
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